          Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 1 of 65


 1   Cory S. Fein
 2   (California Bar No. 250758)
     Cory Fein Law Firm
 3   712 Main St., #800
 4   Houston, TX 77002
     Telephone: (281) 254-7717
 5   Facsimile: (530) 748-0601
 6   Email:cory@coryfeinlaw.com

 7
 8
                      IN THE UNITED STATES DISTRICT COURT
 9                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
      JONATHAN                                    Case No. 5:17-cv-2185
11    MAKCHAROENWOODHI,
12    COLTON WINFIELD and                         COMPLAINT
      EDWARD BEHELER,                             CLASS ACTION
13    individually and on behalf of all
14    others similarly situated,                  DEMAND FOR JURY TRIAL
15                       Plaintiffs,
16
               v.
17
18    HUAWEI DEVICE USA, INC.
      and GOOGLE, INC.,
19
                         Defendants.              JURY TRIAL DEMANDED
20
21
                                 CLASS ACTION COMPLAINT
22
           Plaintiffs Jonathan Makcharoenwoodhi, Colton Winfield and Edward Beheler
23
     (“Plaintiffs”), individually and on behalf of all others similarly situated, bring this class
24
     action against Defendants Huawei Device USA, Inc. (“Huawei”) and Google, Inc.
25
     (“Google”) (collectively “Defendants”), and in support thereof aver the following based
26
     upon personal information and the investigation of their counsel, and upon information
27
     and belief as to all other allegations:
28
     Complaint, Case No. 5:17-cv-2185
                                                  1
            Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 2 of 65


 1
 2
 3
                                        INTRODUCTION
 4
             1.      This is a class action lawsuit brought by Plaintiffs on behalf of
 5
     themselves and a class of similarly situated consumers who purchased Google Nexus
 6
     6P smartphones (the “Phones” or “Class Phones”).
 7
             2.      Defendants touted the Nexus 6P as a first-class smartphone with best-in-
 8
     class battery capabilities, including battery charging and lifespan.
 9
             3.      Below is an advertisement in which Defendants prominently promoted
10
     and advertised these battery-related capabilities in Class Phones:1
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
     1
28       Image from https://www.google.com/nexus/6p/ (last visited April 19, 2017).
     Complaint, Case No. 5:17-cv-2185
                                                  2
          Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 3 of 65


 1
           4.      Defendants also touted the Class Phones through other mediums as
 2
     having superb battery life and performance:2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
           5.      As discussed below, Google executives also touted the Nexus 6P as
17
     superior to the iPhone 6 Plus in charging capabilities.
18
           6.      Despite these large claims about battery capabilities and Class Phone
19
     performance, and as discussed in detail below, the Class Phones are defective because
20
     they are prone to (i) enter an endless bootloop cycle which renders them unresponsive
21
     and unusable (the “Bootloop Defect”) and (ii) severe battery drainage which causes
22
     Class Phones to stop working prematurely (the “Battery Drain Defect”) (collectively
23
     the “Defect”). As the numerous complaints posted on product reviews, blogs and other
24
     consumer resources reveal, countless consumers have experienced this Defect in their
25
     Class Phones. At all relevant times, Defendants knew of or should have known of these
26
27   2
      Image from http://www.androidauthority.com/leaked-presentation-reveals-the-nexus-
28   6p-will-feature-a-big-3450mah-battery-644759/ (last visited April 19, 2017)
     Complaint, Case No. 5:17-cv-2185
                                                  3
          Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 4 of 65


 1
     issues in the Class Phones, yet failed to disclose them in order to increase their sales of
 2
     Class Phones.
 3
           7.        When the Bootloop Defect occurs, it will often manifest without warning,
 4
     and puts the Phones into a death-spiral wherein they will suddenly switch off and then
 5
     turn back on, and remain stuck on the Google boot-up screen. When this occurs, the
 6
     Class Phones are completely unresponsive and non-functional, and they fail to proceed
 7
     past the start-up screen and on to the home screen.
 8
           8.        When the Defect manifests as the Battery Drain Defect, it causes Class
 9
     Phone batteries to die and Class Phones to turn off despite showing as high as 70-80%
10
     battery life in some cases. In the case of Plaintiff Makcharoenwoodhi, his phone began
11
     shutting down with 80-85% battery charge remaining. His Phone would only get about
12
     10 minutes of use when he would remove the Phone from a charger, even though the
13
     Phone displays a full charge.
14
           9.        This early shut off/battery drain problem is reportedly exacerbated by
15
     cold weather. When the battery issues manifest, the Phones will not turn back on until
16
     they are plugged into a charger. When the Phones do eventually turn back on, the
17
     battery life remains right around the level they were at when the Phone turned off and
18
     the battery died.
19
           10.       The Defect manifests both while Class Phones are inside and outside of
20
     the warranty period. It has left consumers across the country with Google Nexus 6P
21
     smartphones that do not work as intended and, in instances where the Defect manifests
22
     even slightly outside of the warranty period, with no recourse. For those Class Phones
23
     that manifest the Defect out of warranty, Defendants typically decline to provide any
24
     remedy whatsoever, leaving consumers with the option to accept a Phone that has
25
     reduced and operability or to procure a repair or replacement at their own expense.
26
     Several consumers, including Plaintiff Makcharoenwoodhi, experienced the Defect
27
     while still in warranty, yet still had their warranty claim or efforts rejected and denied.
28
     Complaint, Case No. 5:17-cv-2185
                                                  4
          Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 5 of 65


 1
     Other consumers similarly report that during the warranty period, Defendants decline to
 2
     provide warranty coverage for the Defect, or hide behind a cosmetic issue (such as a
 3
     cracked bezel or scratched screen) in order to avoid providing a replacement under the
 4
     warranty.
 5
           11.     Even in instances where Defendants have replaced or repaired Class
 6
     Phones under warranty, consumers have had to wait several days or weeks to receive an
 7
     accommodation, which often ends up being a refurbished Phone that suffers from the
 8
     same Defect. Indeed, numerous consumers report that they have had to obtain multiple
 9
     replacement Phones for the same problem. As such, the repair/replacement warranties
10
     offered by Defendants fail in their essential purpose.
11
           12.    Defendants knew or should have known about the Defect, and despite this
12
     knowledge, they fail to disclose the Defect to purchasers of Class Phones. They then
13
     cashed in on this omission by routinely refusing to provide repairs free of charge.
14
           13.     As a result of the Defect, and the monetary costs associated with repairs
15
     and replacements, Plaintiffs and Class members have suffered injury in fact, incurred
16
     damages, and have otherwise been harmed by Defendants’ conduct.
17
           14.     Accordingly, Plaintiffs seek redress for Defendants’ breach of express
18
     and implied warranties and violations of numerous federal and state consumer
19
     protection laws. Plaintiffs also seek recovery for monetary and equitable relief for
20
     Defendants’ conduct described herein.
21
                                        JURISDICTION
22
           15.     This Court has subject matter jurisdiction over this action pursuant to 28
23
     U.S.C. § 1331 because it arises under the laws of the United States and pursuant to 28
24
     U.S.C. § 1332(d) because: (i) there are 100 or more class members; (ii) there is an
25
     aggregate amount in controversy exceeding $5,000,000, exclusive of interest and
26
     costs; and (iii) because at least one plaintiff and defendants are citizens of different
27
28
     Complaint, Case No. 5:17-cv-2185
                                                  5
          Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 6 of 65


 1
     states. This Court has supplemental jurisdiction over the state law claims pursuant to
 2
     28 U.S.C. § 1367.
 3
                              INTRADISTRICT ASSIGNMENT
 4
           16.     Pursuant to Civil Local Rules 3-5(b) and 3-2(c) and (e), this action arose
 5
     in Santa Clara County and should be assigned to the San Jose Division.
 6
                                             VENUE
 7
           17.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391
 8
     because Defendants transact business in this district, are subject to personal
 9
     jurisdiction in this district, and are therefore deemed to be citizens of this district.
10
     Additionally, Defendants have advertised in this district and have received substantial
11
     revenue and profits from their sales of Class Phones in this district; therefore, a
12
     substantial part of the events and/or omissions giving rise to the claims occurred, in
13
     part, within this district. Specifically, Defendant Google principally operates and has
14
     corporate headquarters located within this district.
15
           18.     This Court has personal jurisdiction over Defendants because they have
16
     conducted substantial business in this judicial district and intentionally and
17
     purposefully placed the Class Phones into the stream of commerce within this district
18
     and throughout the United States.
19
                                             PARTIES
20
     A.    California Plaintiff
21
     Plaintiff Jonathan Makcharoenwoodhi
22
           19.     Plaintiff Jonathan Makcharoenwoodhi (“Plaintiff Makcharoenwoodhi”) is
23
     an adult individual residing in Monterey Park, Los Angeles County, California.
24
           20.     In or about April 2016, Plaintiff purchased his Class Phone from Best
25
     Buy. The Phone began experiencing problems in or around late February or early
26
     March 2017.
27
28
     Complaint, Case No. 5:17-cv-2185
                                                  6
          Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 7 of 65


 1
           21.    At first his phone would start shutting off at 25%. The Phone would be at
 2
     around 25% battery life, and it would go to 0% instantaneously and shut off. Over the
 3
     coming months, this issue became worse. Plaintiff would charge the Phone fully, but
 4
     the Phone would begin turning off at 80-85%. If he connected the Phone to a charger
 5
     and fully charged the Phone, it would turn back on and the battery would operate for
 6
     approximately 10 minutes or so off the charger before the battery would run out and
 7
     the Phone would turn off again.
 8
           22.    Plaintiff Makcharoenwoodhi tried numerous troubleshooting methods,
 9
     including a factory reset, but none of these methods worked to resolve the issue in his
10
     Phone.
11
           23.    Plaintiff contacted Huawei and attempted to go through the warranty
12
     process, but Huawei informed Plaintiff that his warranty was voided due to a minor
13
     cosmetic issue, i.e. a small dent by the volume button. This small dent had no effect on
14
     the operability of the Phone whatsoever.
15
           24.    Huawei instructed Plaintiff that he should seek a repair from a third party
16
     repair shop, but he ended up just buying a new phone.
17
           25.      Plaintiff became stuck with a Phone that was unreliable and achieved
18
     only a portion of the battery life that he thought it would when he purchased the
19
     device, to the point that he had to simply go out and buy a brand new phone.
20
           26.      Plaintiff has suffered an ascertainable loss as a result of Defendants’
21
     omissions and/or misrepresentations associated with the Defect, including, but not
22
     limited to, loss of use, out-of-pocket losses, future repairs, and diminished value of his
23
     Class Phone.
24
           27.      Plaintiff Makcharoenwoodhi would not have purchased his Class Phone
25
     had he known that it contained the Defect and the issues discussed herein.
26
27
28
     Complaint, Case No. 5:17-cv-2185
                                                 7
          Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 8 of 65


 1
     B.    Florida Plaintiff
 2
     Plaintiff Colton Winfield
 3
           28.     Plaintiff Colton Winfield (“Plaintiff Winfield”) is an adult individual
 4
     residing in Tampa, Hillsborough County, Florida. On October 30, 2015, he purchased
 5
     a Google Nexus 6P smartphone on from the online Google Store. Plaintiff Winfield
 6
     paid $533.93 for his Phone (serial number 510KPNY0013975).
 7
           29.     Approximately 11 months later, near the end of the warranty on his
 8
     Phone, Plaintiff’s Phone battery started experiencing problems. Any processor-heavy
 9
     task would shut down the Phone. Furthermore, any time the battery percentage fell
10
     below 20%, the Phone immediately dropped to 0% battery and would turn off. The
11
     only way to restore functionality in the Phone is to plug the Phone into A/C power.
12
     Once the Phone turns back on, the battery charge is right around the level where it was
13
     prior to shutting off, i.e. 20%.
14
           30.     The below image of battery diagnostics on Plaintiff’s Phone provides an
15
     example of sharp drop-offs in battery performance and battery failure:
16
17
18
19
20
21
22
23
24
25
26
27
28
     Complaint, Case No. 5:17-cv-2185
                                                8
          Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 9 of 65


 1
           31.     On occasion, Plaintiff will experience battery drain and early shut-off
 2
     with battery levels as high as 25-28%.
 3
           32.     Plaintiff submitted a claim under the warranty as the end of his warranty
 4
     period was nearing. Plaintiff was provided with a replacement device that had
 5
     significant physical damage, namely screen defects. The color gradient was off, and
 6
     parts of the screen were green, bright yellow, and red. Plaintiff shipped this phone
 7
     back and was sent a second replacement device. This phone, too, had damage – the
 8
     power button was bent and the bottom speaker did not work properly. Plaintiff again
 9
     requested a (third) replacement device, and upon receipt, this phone had more physical
10
     damage than any of the prior replacement phones.
11
           33.     Each time that Plaintiff sought a replacement phone, Google required a
12
     hold on his checking account of $533, essentially depriving Plaintiff of the use of those
13
     funds until the previous phone was returned to Google. Plaintiff ultimately returned his
14
     third replacement phone and is now using his original Phone, which remains plagued
15
     by the Defect.
16
           34.     Because of the Defect, Plaintiff has – on multiple occasions – become
17
     lost while driving due to inability to access the Phone’s navigation features, and has
18
     not been able to locate fueling stations for his car when his tank is nearing empty.
19
           35.     Plaintiff’s Phone is now out of warranty and he is stuck with a Phone
20
     that is unreliable and achieves only a portion of the battery life that he thought it would
21
     when he purchased the device.
22
           36.     Plaintiff has suffered an ascertainable loss as a result of Defendants’
23
     omissions and/or misrepresentations associated with the Defect, including, but not
24
     limited to, loss of use, loss of intellectual property, out-of-pocket losses, future repairs,
25
     and diminished value of his Class Phone.
26
           37.     Plaintiff Winfield would not have purchased his Class Phone had he
27
     known that it contained the Defect.
28
     Complaint, Case No. 5:17-cv-2185
                                                   9
          Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 10 of 65


 1
     C.    Indiana Plaintiff
 2
     Plaintiff Edward Beheler
 3
           38.     Plaintiff Edward Beheler is an adult individual residing in Lafayette,
 4
     Tippecanoe County, Indiana. On July 12, 2016, he purchased a Google Nexus 6P
 5
     smartphone from Amazon (IMEI number 867979022017799). Plaintiff Beheler paid
 6
     $509.99 for his Phone. He also bought a Huawei smartwatch for $299.95 in the same
 7
     transaction. As part of Amazon’s “Prime Day” promotion, he received a $230.20
 8
     discount on the transaction total.
 9
           39.     One of the primary factors in Plaintiff Beheler’s decision to purchase his
10
     Nexus 6P primarily was the long battery life it was advertised as having, as well as the
11
     large screen. In the months immediately after his purchase, his Nexus 6P’s battery
12
     operated satisfactorily and generally held a charge from morning until evening.
13
           40.    In or around March 2017, Plaintiff Beheler began to experience sudden
14
     and severe drain of his Nexus 6P’s battery. He began to notice that the battery life of his
15
     Nexus 6P was very short and that the Phone started running out of battery and powering
16
     off shortly after removing the Phone from a charger, often powering off when the
17
     battery had as much as 70% of its charge remaining and sometimes even as much as
18
     90%. Plaintiff has observed his Phone go from a fully charged battery immediately after
19
     removing it from a charger to powering off due to battery drain in under an hour while
20
     the Phone is in safe mode and he was using only Google’s Chrome browser.
21
           41.    The following screenshot, taken on Plaintiff Beheler’s Phone in or about
22
     March/April 2017, demonstrate the sudden shut off, even where the Phone retains
23
     much of its charge, and then the restoration of battery charge to where it was prior to
24
     the shut off once the battery is put on A/C power:
25
26
27
28
     Complaint, Case No. 5:17-cv-2185
                                                 10
         Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 11 of 65


 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13         42.    On April 3, 2017, Plaintiff Beheler took a business trip to a factory in
14   Kansas. During that trip, Plaintiff Beheler was unable to charge his Nexus 6P
15   frequently and experienced several battery drains and shut offs in a short period. On
16   April 5, 2017, Plaintiff Beheler had dinner with colleagues and then a tour of an antique
17   shop. Prior to dinner, Plaintiff Beheler’s Phone was fully charged. However, midway
18   through the tour of the antique shop, the battery suddenly drained and the Phone shut
19   off. On April 7, 2017, the Phone again died several times in a few hour period while he
20   waited to travel home at the Minneapolis airport. Plaintiff Beheler was only able to get
21   the Phone charged and running again by plugging it into an external battery pack.
22         43.    Following Plaintiff’s business trip, he contacted Google’s customer
23   support using their callback feature. The Google representative walked him through
24   some troubleshooting steps, and determined that the Phone was defective and needed
25   replaced due to a hardware defect. However, because he purchased the Phone from
26   Amazon rather than from Google, Google would not provide any assistance and
27
28
     Complaint, Case No. 5:17-cv-2185
                                                 11
         Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 12 of 65


 1
     declined to provide Plaintiff Beheler any relief. The Google representative direct him
 2
     to contact Huawei’s customer support.
 3
             44.   Thereafter, on or around April 11, 2017, Plaintiff Beheler called Huawei’s
 4
     customer support. The Huawei representative Plaintiff spoke to agreed that the Phone
 5
     was defective, and told him that he could send the Phone in to be repaired or replaced,
 6
     leaving Plaintiff Beheler without his Nexus 6P for seven to ten days at minimum. The
 7
     representative informed Plaintiff Beheler Huawei does not perform advance
 8
     replacements. Huawei requested Plaintiff Beheler send Huawei photos of his Phone,
 9
     which he did. The Huawei representative initiated a ticket number but did not create a
10
     mailing label or issue a Return Merchandise Authorization.
11
             45.   Through online research, Plaintiff Beheler found that consumers were
12
     reporting that Huawei's repair department was completely overwhelmed by warranty
13
     claims and other repairs related to the Defect, with some consumers reporting that they
14
     had been without a phone for up to four weeks, with no return date in sight. Due to
15
     personal circumstances, such as work and family obligations, Plaintiff Beheler is unable
16
     to be without a cell phone or other means of contact for such an extended period of
17
     time.
18
             46.   Plaintiff contacted Huawei support by phone again, and the representative
19
     he spoke to confirmed that Huawei was then unable to estimate repair times. Plaintiff
20
     requested that his call be escalated. The representative told Plaintiff he would escalate
21
     the call and that Plaintiff would be called back shortly. Huawei did not call Plaintiff
22
     back following that conversation.
23
             47.   Plaintiff Beheler also contacted Amazon to see if it would accept a return,
24
     but it would not, as nine months has passed since the date of purchase.
25
             48.   Plaintiff contacted Google customer support several more times regarding
26
     his Phone’s severe battery drain. He was repeatedly told that Google would not
27
     provide any form of service or support for a Nexus 6P that was not purchased directly
28
     Complaint, Case No. 5:17-cv-2185
                                                 12
          Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 13 of 65


 1
     through the Google Play store and that Plaintiff’s concerns should be directed to
 2
     Huawei.
 3
           49.     Plaintiff Beheler has suffered an ascertainable loss as a result of
 4
     Defendants’ omissions and/or misrepresentations associated with the Defect,
 5
     including, but not limited to, loss of use, out-of-pocket losses, future repairs, and
 6
     diminished value of his Class Phone.
 7
           50.     Plaintiff Beheler would not have purchased his Class Phone had he
 8
     known that it contained the Defect.
 9
     D.    Defendants
10
           51.   Defendant Huawei Device USA, Inc. is, upon information and belief, a
11
     corporation organized and existing under the laws of the state of Texas, with its
12
     principal place of business located at 5700 Tennyson Parkway, Suite 500 Plano, Collin
13
     County, Texas 75024.
14
           52.   Defendant Google, Inc. is, upon information and belief, a corporation
15
     organized and existing under the laws of the state of Delaware, with its principal place
16
     of business located at 1600 Ampitheatre Parkway, Mountain View, Santa Clara County,
17
     California 94043.
18
           53.   Defendants, and each of them, are now, and/or at all times mentioned in
19
     this complaint were in some manner legally responsible for the events, happenings and
20
     circumstances alleged in this complaint. Defendants proximately caused Plaintiffs, all
21
     others similarly situated to be subjected to the unlawful practices, wrongs, complaints,
22
     injuries, and/or damages alleged in this complaint. Defendants, and each of them, are
23
     now, and/or at all times mentioned in this complaint were the agents, servants, and/or
24
     employees of some or all other Defendants, and vice-versa, and in doing the things
25
     alleged in this complaint, Defendants are now and/or at all times mentioned in this
26
     complaint were acting within the course and scope of that agency, servitude, and/or
27
     employment.
28
     Complaint, Case No. 5:17-cv-2185
                                               13
          Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 14 of 65


 1
              54.   Defendants, and each of them, at all times mentioned in this complaint
 2
     concurred and contributed to the various acts and omissions of each and every one of
 3
     the other Defendants in proximately causing the complaints, injuries, and/or damages
 4
     alleged in this complaint. Defendants, and each of them, at all times mentioned in this
 5
     complaint approved of, condoned and/or otherwise ratified each and every one of the
 6
     acts and/or omissions alleged in this complaint.
 7
              55.   Defendants, and each of them, at all times mentioned in this complaint
 8
     aided and abetted the acts and omissions of each and every one of the other Defendants
 9
     thereby proximately causing the damages alleged in this complaint.
10
                                  FACTUAL ALLEGATIONS
11
     A.       The Google Nexus 6P
12
              56.   On a stage in San Francisco on the morning of September 29, 2015,
13
     Google unveiled the newest version of its Nexus 6 smartphone, called the Nexus 6P. In
14
     conjunction with its release, Google touted the Nexus 6P as its “most premium phone
15
     yet.”3
16
              57.   The Nexus 6P was released for pre-order on September 29, 2015 through
17
     the Google Store in the United States, United Kingdom, Ireland, and Japan, with release
18
     in additional countries in the weeks that followed.4 Images of the Nexus 6P are below:
19
20
21
22
23
24
25   3
       http://www.theverge.com/2015/9/29/9410551/google-nexus-6p-announced-size-price-
26   release-date (last visited April 14, 2017).
     4
       http://www.androidpolice.com/2015/09/28/exclusive-nexus-6p-will-be-available-for-
27   pre-order-on-september-29th-starting-499-99-in-the-u-s-uk-ireland-canada-and-japan/
28   (last visited April 14, 2017).
     Complaint, Case No. 5:17-cv-2185
                                                14
         Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 15 of 65


 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
           58.   The Nexus 6P is equipped with a 5.7-inch WQHD display and a
21
     completely new design, at 7.3mm thick.5 The Nexus 6P is also equipped with a
22
     3450mAh battery, dual front-facing speakers, and the Snapdragon 810 v2.1 processor.6
23
     An 8-megapixel camera is on the front of the Nexus 6P. The camera is supposed to be
24
25   5
       http://www.theverge.com/2015/9/29/9410551/google-nexus-6p-announced-size-price-
26   release-date (last visited April 14, 2017).
     6
       http://www.androidpolice.com/2015/09/28/exclusive-nexus-6p-will-be-available-for-
27   pre-order-on-september-29th-starting-499-99-in-the-u-s-uk-ireland-canada-and-japan/
28   (last visited April 14, 2017).
     Complaint, Case No. 5:17-cv-2185
                                             15
         Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 16 of 65


 1
     optimized for indoor photography and features slow-motion video, 4K video, and burst
 2
     mode for photos.7
 3
           59.    The Phones were offered for $499 (32 GB), $549 (64 GB), and $649 (128
 4
     GB).8 Furthermore, the Nexus 6P was marketed as “unlocked” such that consumers are
 5
     not tied to a contract and can use the Phones with many different carriers.9
 6
           60.    At the launch event, Google claimed that the Nexus 6P would possess best
 7
     in class features, including support for ultra-fast charging allowing it to charge twice as
 8
     fast as the iPhone 6 Plus.10
 9
           61.    At the launch event, Google’s Vice President of Engineering Dave Burke
10
     touted the Nexus 6P as:
11
                  • “the most advanced Android software built into innovative hardware”;
12
                  • “the very latest and best in material design”; and
13
                  • capable of “charg[ing] fully in about half the time of an iPhone 6
14
                     Plus”.11
15
           62.    At the launch event, Google’s Product Management Director Sabrina Ellis
16
     also described the Nexus Protect package, which she characterized as providing
17
     coverage for those “drops, spills, and cracks we all worry about.” She also stated that
18
     because Nexus Protect support would be offered 24/7, when consumers need to file a
19
     claim, they can “get a new device as early as the next business day.”12
20
21
22
23   7
       http://www.theverge.com/2015/9/29/9410551/google-nexus-6p-announced-size-price-
24   release-date (last visited April 14, 2017).
     8
       Id., at embedded videos.
25   9
       Id.
     10
26      Id.
     11
        https://www.youtube.com/watch?v=-THMyqbmiYk (last visited April 14, 2017).
27   12
        http://www.theverge.com/2015/9/29/9410551/google-nexus-6p-announced-size-
28   price-release-date (last visited April 14, 2017), at embedded video.
     Complaint, Case No. 5:17-cv-2185
                                                 16
            Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 17 of 65


 1
              63.   As recently as April 2017, Google’s website advertises the Nexus 6P as
 2
     containing a battery that “keeps you talking, texting, and apping into the night.”13
 3
     Neither Google’s nor Huawei’s websites mention the Defect.
 4
              64.   Despite Google’s high remarks about the Nexus 6P Phones and their
 5
     performance, countless consumers report having quite a different experience in terms of
 6
     quality, operability, and battery performance.
 7
 8   B.       The Widespread Defect Becomes Apparent in All of the Class Phones

 9            65.   Unbeknownst to consumers, Nexus 6P Phones suffer from the Defect that

10   inevitably causes the Phones to experience severe battery drainage or get stuck on the

11   home screen and in the bootup process. When the Defect manifests as the Bootloop

12   Defect, the Phone will unexpectedly turn off, then upon turning back on, get stuck in

13   the bootup process, and fail to proceed beyond the start-up screen. When this Defect

14   manifests as the Battery Drain Defect, the Phone will experience severely diminished

15   battery life and premature shut-off.

16            66.   When bootlooping occurs, the phone is essentially a very expensive

17   paperweight. After the Defect occurs, the Phone no longer operates whatsoever. It

18   cannot be used to make calls, send text messages, access the internet, or use any other

19   function available on the Phone. Consumers lose all access to any data or information

20   stored on the Phone, including any photographs or other intellectual property.

21            67.   Consumer complaints regarding bootlooping in the Nexus 6P began

22   appearing online at least as early as September 2016.

23            68.   Manifestation of the Defect as the Battery Drain Defect is also a

24   widespread issue in Class Phones. When this issue manifests, consumers experience a

25   complete loss of operability in their Class Phones despite that the battery on their

26   Phones show a partial charge. Consumers report the same common experience: the

27
     13
28        https://www.google.com/nexus/6p/ (last visited April 14, 2017).
     Complaint, Case No. 5:17-cv-2185
                                                 17
          Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 18 of 65


 1
     Phone will be working fine, and the battery will have a partial charge (e.g. between 15-
 2
     45%) when suddenly, their Phone will just turn off and will not turn back on. Some
 3
     consumers report that this occurs with as high as 80% battery life remaining.
 4
           69.    When this happens, consumers are only able to get the Phone to start
 5
     operating again by plugging the Phone into a charger. Eventually, the Phone turns
 6
     back on and the battery life shows that the Phone has been charged slightly above the
 7
     point or percentage where it was before the Phone failed and died due to the Defect.
 8
           70.    Despite Defendants’ awareness of the Defect and countless reports of
 9
     these issues from consumers – including directly to Huawei and Google, on
10
     Defendants’ message boards, and on consumer websites – Defendants continue to sell
11
     Class Phones without informing consumers of the Defect.
12
           71.    Defendants have refused to confirm the presence of these issues in Class
13
     Phones and provide relief to consumers whose Nexus 6P Phones bootloop or suffer
14
     from battery drain or early shut-off.
15
     C.    The Impact of the Battery Drain and Bootloop on Consumers
16
           72.     As discussed above, Plaintiffs have experienced the Defect in his Class
17
     Phone. His experience is by no means an isolated occurrence.
18
           73.     The internet is replete with complaints by consumers who purchased a
19
     Nexus 6P phone, only to experience the same bootloop and battery drain problems.
20
     Examples of some of these complaints are below:
21
22
23
24
25   https://www.reddit.com/r/Nexus/comments/4zhx53/never_ending_boot_loop_with_and
     roid_7_nougat/de0d4k3/ (last visited March 3, 2017)
26
27
28
     Complaint, Case No. 5:17-cv-2185
                                                18
         Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 19 of 65


 1
 2
 3
 4
 5
 6
 7   https://www.reddit.com/r/Nexus/comments/4zhx53/never_ending_boot_loop_with_and
     roid_7_nougat/dd9lj2q/ (last visited March 3, 2017)
 8
 9
10
11
12
13
14
15
16
17
18   https://www.youtube.com/watch?v=9iqpfUqb8gU (last visited March 3, 2017)
19
20
21
22   Id. (last visited March 3, 2017)
23
24
25   Id. (last visited March 3, 2017)
26
27
28
     Complaint, Case No. 5:17-cv-2185
                                            19
         Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 20 of 65


 1
 2
 3
 4
 5
 6
 7   http://www.androidauthority.com/nexus-6p-bootloop-issues-738275/ (last visited
     March 3, 2017)
 8
 9
10
11
12
13
14
     Id. (last visited March 3, 2017)
15
16
17
18
19
20
21   Id. (last visited March 3, 2017)
22
23
24
25
26
27   https://www.xda-developers.com/nexus-6p-users-experiencing-random-bootloops/ (last
     visited March 3, 2017)
28
     Complaint, Case No. 5:17-cv-2185
                                              20
         Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 21 of 65


 1
 2
 3
 4
 5
 6   http://www.androidauthority.com/amazon-alexa-based-voice-call-754631/#comment-
     2910821891 (last visited March 3, 2017)
 7
 8
 9
10
11
12
13
14   http://www.androidauthority.com/samsung-lg-lcd-delay-764136/#comment-
     2994769785 (last visited April 14,2017)
15
16
17
18
19   http://www.androidauthority.com/samsung-lg-lcd-delay-764136/#comment-
20   3065853865 ( last visited April 14, 2017)

21
22   http://www.androidauthority.com/samsung-lg-lcd-delay-764136/#comment-
23   2978851185 (last visited April 14,2017)
24
25
26
27   http://www.androidauthority.com/samsung-lg-lcd-delay-764136/#comment-
     2978082660 (last visited April 14, 2017)
28
     Complaint, Case No. 5:17-cv-2185
                                            21
         Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 22 of 65


 1
 2
 3
 4
 5
 6
 7
 8
 9
10   https://twitter.com/psychicstorm/status/852146771354628096 (last visited April a14,
11   2017)
12
13
14
15
16
17
18   https://twitter.com/sdfitnoexcuses/status/851661079914532864 (last visited April 14,
19   2017)

20
21
22
23
24
25
26
27
28
     Complaint, Case No. 5:17-cv-2185
                                              22
         Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 23 of 65


 1   https://twitter.com/chukumukoo/status/850744112190038017 (last visited April 14,
 2   2017)

 3
 4
 5
 6
 7   https://twitter.com/AnnandKevin/status/847110772941606912     (last   visited   April
 8   14,2017)

 9
10
11
12
     https://www.facebook.com/androidauthority/posts/1137761776273542?comment_id=
13
     1137787889604264&comment_tracking=%7B%22tn%22%3A%22R0%22%7D (last
14   visited April 14, 2017)
15
16
17
18
19
20
21
22
     https://www.amazon.com/gp/customer-
23   reviews/R15DQL12OO5EVM/ref=cm_cr_getr_d_rvw_ttl?ie=UTF8&ASIN=B015YC
     RYZM (last visited April 14,2017)
24
25
26
27
28
     Complaint, Case No. 5:17-cv-2185
                                             23
          Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 24 of 65


 1
 2
 3
 4
 5
 6
 7
     https://www.amazon.com/gp/customer-
 8
     reviews/R121YD5FSNCG3Z/ref=cm_cr_getr_d_rvw_ttl?ie=UTF8&ASIN=B015YCR
 9   YZM (last visited April 14,2017)
10         74.     Consumers have even initiated a petition on change.org to get
11   Defendants to address the Defect in the 6P.14 As of April 14, 2017, the petition had
12   garnered signatures from 125 supporters.
13   D.    Defendants’ Continued Failure to Remedy the Defect
14         75.    Despite the fact that Defendants know of or are on notice of the issues in
15   Class Phones described herein, Defendants have failed to disclose these issues to
16   consumers prior to purchase, and once the issues manifest in the Class Phones,
17   Defendants fail to provide an adequate remedy.
18         76.    Defendants often fail to provide a remedy or relief for consumers even in
19   warranty, often pointing to a cosmetic issue (such as a cracked screen) as an excuse
20   not to provide a repair or replacement. Often times the problems in Nexus 6P Phones
21   occur just outside of the warranty.
22         77.    Consumers report that they have been required to obtain a repair or
23   replacement at their own expense and that Defendants are not standing behind their
24   product or their promises to repair Class Phones. Many consumers have already paid
25
26
     14
       See https://www.change.org/p/google-inc-get-repair-replacement-support-from-
27   google-and-huawei-for-the-nexus-6p?source_location=topic_page (last visited April
28   14, 2017).
     Complaint, Case No. 5:17-cv-2185
                                                24
         Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 25 of 65


 1
     out of pocket for the costly repairs associated with fixing the battery drain and
 2
     bootloop problems in Class Phones.
 3
           78.       Although Google and Huawei appear to offer some consumers repairs or
 4
     refurbished devices at no cost, this is not the norm, and Defendants have refused to
 5
     acknowledge these issues and provide the same relief, or any relief at all, for other
 6
     consumers.
 7
           79.       On calls to customer support, consumers typically experience Google and
 8
     Huawei representatives pointing fingers at one another and bouncing consumers back
 9
     and forth to each other on series of calls. These calls often end in no recourse.
10
           80.       Other consumers are forced to either pay a repair price or submit a
11
     damage claim through Assurant, which requires payment of a costly deductible.
12
           81.       Consumers who are able to obtain a replacement device – whether free of
13
     charge or (more likely) after paying out of pocket – are routinely provided with
14
     refurbished, used phones. This leaves consumers in a situation where they have paid
15
     full-freight for a brand new phone, but are left with a refurbished phone that will likely
16
     (and often does) experience the same issues again, and in some cases multiple
17
     additional times. Many consumers, like Plaintiff Poore, report receiving refurbished
18
     devices containing cosmetic or other physical damage, and have had to seek multiple
19
     refurbished devices.
20
           82.       Defendants should not be permitted to continue concealing the Defect
21
     while fleecing consumers with the costs of repairing Class Phones and making
22
     consumers overpay for defective Class Phones when Defendants are well aware of
23
     these issues.
24
           83.       It is apparent that Defendants know of these issues but have no intention
25
     of universally remedying these problems, as Defendants routinely decline to repair
26
     defective Phones that are clearly affected by the issues described herein under the
27
     guise of cosmetic or other reasons.
28
     Complaint, Case No. 5:17-cv-2185
                                                  25
         Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 26 of 65


 1
           84.    To date, Defendants have failed to acknowledge that Nexus 6P Phones are
 2
     plagued by defects resulting in battery drainage/early shut-off and bootlooping, and
 3
     Defendants continue to fail to repair the defective Phones free of charge to consumers.
 4
     Even as consumer reports begin to rapidly emerge online about these problems,
 5
     Defendants have not acknowledged these widespread problems.
 6
           85.    Had these issues been known and disclosed to Plaintiffs and consumers,
 7
     they would not have purchased their Class Phones (or at a minimum would have paid
 8
     significantly less for them). At the time of purchase, Plaintiffs were not aware of the
 9
     issues in the Class Phones.
10
           86.    Defendants have made affirmative representations about the quality of the
11
     Class Phones and failed to disclose, or suppressed, a material fact about the Class
12
     Phones, namely that they are plagued by a defect that results in battery drain or
13
     bootlooping that inevitably renders Class Phones completely useless.
14
           87.    Defendants had a duty to disclose these issues based upon its exclusive
15
     knowledge thereof – a material fact that, had it been disclosed to consumers (including
16
     Plaintiffs), would have resulted in consumers not purchasing their Class Phones.
17
           88.    Defendants have and had exclusive knowledge of the defect in the Class
18
     Phones.
19
           89.    As a result of the Defect and Defendants’ refusal to adequately address
20
     and remedy these issues, consumers across the United States have paid and continue to
21
     pay large sums of money out of pocket to repair the Defect in Class Phones or to
22
     obtain a replacement, including money paid for repairs, insurance deductibles paid in
23
     conjunction with insurance claims, and other out of pocket costs.
24
           90.    In addition, the Defect has caused countless consumers to experience loss
25
     of use of their Class Phones, loss in value of their Class Phones, and loss of access to
26
     photos and other valuable intellectual property accessible only through their Class
27
     Phones, which can no longer be accessed due to Class Phones being bricked.
28
     Complaint, Case No. 5:17-cv-2185
                                                26
         Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 27 of 65


 1
           91.    Under these circumstances – Defendants’ superior bargaining power,
 2
     exclusive knowledge of the Defect, and failure to disclose the same – any attempt to
 3
     limit the warranty period to a period of one year or other limitations on the rights of
 4
     consumers to vindicate these claims are unenforceable as procedurally and
 5
     substantively unconscionable.
 6
                                  CLASS ACTION ALLEGATIONS
 7
           92.     Plaintiffs bring this lawsuit on behalf of themselves and all similarly
 8
     situated individuals and entities, pursuant to Federal Rule of Civil Procedure 23(a),
 9
     23(b)(2) and 23(b)(3). Specifically, the classes consist of:
10
                  Nationwide Class
11
                  All persons or entities who purchased a defective Nexus 6P
12                Phone.
13                California Subclass
14                All persons or entities in the state of California who
                  purchased a defective Nexus 6P Phone.
15
                  Florida Subclass
16
                  All persons or entities in the state of Florida who purchased a
17                defective Nexus 6P Phone.
18                Indiana Subclass
19                All persons or entities in the state of Indiana who purchased a
                  defective Nexus 6P Phone.
20
21         93.     Excluded from the Classes are Defendants, its affiliates, subsidiaries,
22   parents, successors, predecessors, any entity in which Defendants or their parents have
23   a controlling interest; Defendants’ current and former employees, officers and
24   directors; the Judge(s) and/or Magistrate(s) assigned to this case; any person who
25   properly obtains exclusion from the Classes; any person whose claims have been
26   finally adjudicated on the merits or otherwise released; and the parties’ counsel in this
27   litigation. Plaintiffs reserve the right to modify, change, or expand the Classes
28   definitions based upon discovery and further investigation.
     Complaint, Case No. 5:17-cv-2185
                                                  27
         Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 28 of 65


 1
           94.     Numerosity: Upon information and belief, the Class is so numerous that
 2
     joinder of all members is impracticable. While the exact number and identities of
 3
     individual members of the Class are unknown at this time, such information being in
 4
     the sole possession of Defendants and/or third parties and obtainable by Plaintiffs only
 5
     through the discovery process, Plaintiffs believe, and on that basis allege, that
 6
     thousands upon thousands of Class members have been subjected to the conduct by
 7
     Defendants herein alleged. Plaintiffs’ counsel has been contacted by nearly two
 8
     thousand consumers who claim to have experienced one or both of the Defects.
 9
           95.     Existence and Predominance of Common Questions of Fact and
10
     Law: Common questions of law and fact exist as to all members of the Class. These
11
     questions predominate over the questions affecting individual Class members. These
12
     common legal and factual questions include, but are not limited to:
13
             a)   Whether the Phones are defective in that they were prone to failing
14
                  prematurely due to the Defect;
15
             b)   Whether Defendants knew of the Defect but failed to disclose the
16
                  problem and its consequences to their customers;
17
             c)   Whether a reasonable consumer would consider the Defect or its
18
                  consequences to be material;
19
             d)   Whether Defendants’ conduct violates state consumer protection laws
20
                  and other laws as asserted herein;
21
             e)   Whether Plaintiffs and the other Class members overpaid for their
22
                  Phones as a result of the Defect alleged herein;
23
             f)   Whether Defendants’ conduct was fraudulent;
24
             g)   Whether Plaintiffs and the other Class members are entitled to equitable
25
                  relief, including, but not limited to, restitution or injunctive relief; and
26
             h)   Whether Plaintiffs and the other Class members are entitled to damages
27
                  and other monetary relief and, if so, in what amount.
28
     Complaint, Case No. 5:17-cv-2185
                                                 28
         Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 29 of 65


 1
           96.     Typicality: All of Plaintiffs’ claims are typical of the claims of the Class
 2
     since Plaintiffs and all Class members were injured in the same manner by
 3
     Defendants’ uniform course of conduct described herein. Plaintiffs and all Class
 4
     members have the same claims against Defendants relating to the conduct alleged
 5
     herein, and the same events giving rise to Plaintiffs claims for relief are identical to
 6
     those giving rise to the claims of all Class members. Plaintiffs and all Class members
 7
     sustained monetary and economic injuries including, but not limited to, ascertainable
 8
     losses arising out of Defendants’ wrongful conduct as described herein. Plaintiffs are
 9
     advancing the same claims and legal theories on behalf of themselves and all absent
10
     Class members.
11
           97.     Adequacy: Plaintiffs are adequate representative for the Class because
12
     his interests do not conflict with the interests of the Class that they seek to represent;
13
     Plaintiffs have retained counsel competent and highly experienced in complex class
14
     action litigation – including consumer fraud class action cases – and counsel intends to
15
     prosecute this action vigorously. The interests of the Class will be fairly and
16
     adequately protected by Plaintiffs and their counsel.
17
           98.     Superiority: A class action is superior to all other available means of
18
     fair and efficient adjudication of the claims of Plaintiffs and all Class members. The
19
     injury suffered by each individual Class member is relatively small in comparison to
20
     the burden and expense of individual prosecution of the complex and extensive
21
     litigation necessitated by Defendants’ conduct. It would be virtually impossible for
22
     members of the Class individually to redress effectively the wrongs done to them by
23
     Defendants. Even if Class members could afford such individual litigation, the court
24
     system could not. Individualized litigation presents a potential for inconsistent or
25
     contradictory judgments. Individualized litigation increases the delay and expense to
26
     all parties, and to the court system, presented by the complex legal and factual issues
27
     of the case. By contrast, the class action device presents far fewer management
28
     Complaint, Case No. 5:17-cv-2185
                                                 29
          Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 30 of 65


 1
     difficulties, and provides the benefits of single adjudication, an economy of scale, and
 2
     comprehensive supervision by a single court. Upon information and belief, members
 3
     of the Class can be readily identified and notified based on, inter alia, the records
 4
     (including databases, e-mails, etc.) Defendants maintain regarding sales of Class
 5
     Phones. Plaintiffs know of no difficulty to be encountered in the management of this
 6
     action that would preclude its maintenance as a class action.
 7
           99.     Defendants have acted or refused to act on grounds generally applicable
 8
     to Plaintiffs and the other members of the Class, thereby making appropriate final
 9
     injunctive relief and declaratory relief, as described below, with respect to the Class as
10
     a whole.
11
           100.    Given that Defendants have engaged in a common course of conduct as
12
     to Plaintiffs and the Class, similar or identical injuries and common law and statutory
13
     violations are involved and common questions far outweigh any potential individual
14
     questions.
15
                                     CAUSES OF ACTION
16
17   A.    Nationwide Class
                                         COUNT I
18                          BREACH OF EXPRESS WARRANTY
19                                   (Against Huawei)
                             (On Behalf of the Nationwide Class)
20
           101. Plaintiffs repeat and reallege the allegations above as if fully set forth
21
     herein.
22
           102. Plaintiffs bring this claim on behalf of the Nationwide Class.
23
           103.    Huawei is a “merchant” as defined under the Uniform Commercial Code
24
     (“UCC”).
25
           104.    The Class Phones are “goods” as defined under the UCC.
26
           105.    Huawei expressly warranted that the Class Phones were of free from
27
     material defects and, at a minimum, would actually work properly. Huwaei also
28
     Complaint, Case No. 5:17-cv-2185
                                                 30
          Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 31 of 65


 1
     expressly warranted that they would repair and/or replace “any parts of the [Phone] that
 2
     are defective or malfunctioning during normal usage.”15
 3
           106.    For example, Huawei’s warranty for each Class Phone provides:
 4
 5                Huawei Device USA Inc., (“Huawei”) represents and
                  warrants to the original purchaser (“Purchaser”) that Huawei’s
 6                phones and accessories (“Product”) are free from material
 7                defects, including improper or inferior workmanship,
                  materials, and design, during the designated warranty
 8                period[.]16
 9
10         107.    Huawei breached its warranty by selling to Plaintiffs and class members
11   Class Phones equipped with the Defect, which is material, causing Class Phones to fail
12   to function properly or at all.
13         108.    Huawei further breached the warranty by failing to repair and/or replace
14   Plaintiffs’ and other Class members’ Phones when they failed during the warranty
15   period.
16         109.    This intended failure to disclose the known Defect is malicious, and it
17   was carried out with willful and wanton disregard for the rights and economic interests
18   of Plaintiffs and Class members.
19         110.    As a result of Huawei’s actions, Plaintiffs and Class members have
20   suffered economic damages including but not limited to costly repairs, loss of use,
21   substantial loss in value and resale value of the Phones, and other related damage.
22         111.    Huawei’s attempt to disclaim or limit its express warranties vis à-vis
23   consumers is unconscionable and unenforceable under the circumstances here.
24   Specifically, Huawei’s warranty limitation is unenforceable because it knowingly sold a
25   defective product without informing consumers about the Defect.
26
     15
        http://consumer.huawei.com/us/support/warranty-policy/mobile-phone/index.htm
27   (last visited April 14, 2017).
     16
28      Id.
     Complaint, Case No. 5:17-cv-2185
                                                31
         Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 32 of 65


 1
           112.   Furthermore, the time limits contained in Huawei’s warranty period are
 2
     also unconscionable and inadequate to protect Plaintiffs and members of the Class.
 3
     Among other things, Plaintiffs and Class members have had no meaningful choice in
 4
     determining these time limitations, the terms of which unreasonably favored Huawei. A
 5
     gross disparity in bargaining power existed between Huawei and class members, and
 6
     Huawei knew or should have known that the Class Phones were defective at the time of
 7
     sale, and would fail well before their useful lives. Furthermore, consumers had no way
 8
     of knowing of the concealed Defect.
 9
           113.   Plaintiffs and Class members have complied with all obligations under
10
     the warranty, or otherwise have been excused from performance of said obligations as a
11
     result of Huawei’s conduct described herein.
12
           114.   Huawei was provided notice of these issues by complaints lodged by
13
     consumers before or within a reasonable amount of time after the allegations of the
14
     Defect became public.
15
16                            COUNT II
17   BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
                       (Against Defendants)
18               (On Behalf of the Nationwide Class)
19         115. Plaintiffs repeat and reallege the allegations above as if fully set forth
20   herein.
21         116.   Plaintiffs bring this claim on behalf of the Nationwide Class.
22         117.   Huawei and Google are “merchants” as defined under the UCC.
23         118.   The Class Phones are “goods” as defined under the UCC.
24         119.   Huawei and Google impliedly warranted that the Class Phones were of a
25   merchantable quality.
26         120.   Defendants breached the implied warranty of merchantability because
27   the Class Phones were not of a merchantable quality due to the Defect.
28
     Complaint, Case No. 5:17-cv-2185
                                               32
          Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 33 of 65


 1
           121.      Plaintiffs and Class members’ interactions with Huawei and Google
 2
     suffice to create privity of contract between Plaintiffs and Class members, on the one
 3
     hand, and Defendants, on the other hand; however, privity of contract need not be
 4
     established nor is it required because Plaintiffs and Class members are intended third-
 5
     party beneficiaries of contracts between Huawei and Google and the retailers who sell
 6
     the Phones, and specifically, of Defendants’ implied warranties. Defendants’ warranties
 7
     were designed for the benefit of consumers who purchase(d) Class Phones.
 8
           122.      As a direct and proximate result of the breach of said warranties,
 9
     Plaintiffs and Class members were injured and are entitled to damages.
10
           123.      Defendants’ attempts to disclaim or limit the implied warranty of
11
     merchantability vis-à-vis consumers is unconscionable and unenforceable here.
12
     Specifically, Defendants’ warranty limitations are unenforceable because Defendants’
13
     knowingly sold a defective product without informing consumers about the Defect.
14
           124.      Furthermore, the time limits contained in Defendants’ warranty period
15
     were also unconscionable and inadequate to protect Plaintiffs and members of the
16
     Class. Among other things, Plaintiffs and members of the Class had no meaningful
17
     choice in determining these time limitations, the terms of which unreasonably favored
18
     Defendants. A gross disparity in bargaining power existed between Defendants and
19
     Class members, and Defendants knew or should have known that the Class Phones
20
     were defective at the time of sale and that the Phones would fail well before their
21
     useful lives.
22
           125.      Plaintiffs and Class members have complied with all obligations under
23
     the warranty or otherwise have been excused from performance of said obligations as a
24
     result of Defendants’ conduct described herein.
25
           126.      Defendants were provided notice of these issues by complaints lodged by
26
     consumers before or within a reasonable amount of time after the allegations of the
27
     Defect became public.
28
     Complaint, Case No. 5:17-cv-2185
                                                 33
         Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 34 of 65


 1
 2                                 COUNT III
                     VIOLATION OF THE MAGNUSSON-MOSS
 3                WARRANTY ACT, 15 U.S.C. §§ 2301 et seq. (“MMWA”)
 4                            (Against Huawei)
                      (On Behalf of the Nationwide Class)
 5
           127. Plaintiffs repeat and reallege the allegations above as if fully set forth
 6
     herein.
 7
           128.    Plaintiffs and Class members are “consumers” within the meaning of the
 8
     MMWA. 15 U.S.C. § 2301(3).
 9
           129.    The Phones are “consumer products” within the meaning of the MMWA.
10
     15 U.S.C. § 2301(1).
11
           130.    Huawei is a “supplier” and “warrantor” within the meaning of the
12
     MMWA. 15 U.S.C. § 2301(4)-(5).
13
           131.    Section 2310(d) of the MMWA provides a cause of action for consumers
14
     who are harmed by the failure of a warrantor to comply with a written or implied
15
     warranty.
16
           132.    Huawei’s express warranties are written warranties within the meaning of
17
     Section 2301(6) of the MMWA. The Phones’ implied warranties are accounted for
18
     under Section 2301(7) of the MMWA, which warranties Huawei cannot disclaim under
19
     the MMWA, when they fail to provide merchantable goods.
20
           133.    As set forth herein, Huawei breached their warranties with Plaintiffs and
21
     Class members.
22
           134.    Additionally, 15 U.S.C. § 2304(d) provides in pertinent part:
23
24                [T]he warrantor may not assess the consumer for any costs the
                  warrantor or his representatives incur in connection with the
25                required remedy of a warranted consumer product. . . . [I]f any
26                incidental expenses are incurred because the remedy is not
                  made within a reasonable time or because the warrantor
27                imposed an unreasonable duty upon the consumer as a
28                condition of securing remedy, then the consumer shall be
     Complaint, Case No. 5:17-cv-2185
                                                34
           Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 35 of 65


 1                 entitled to recover reasonable incidental expenses which are so
 2                 incurred in any action against the warrantor.
     Id.
 3
 4          135.    The Nexus 6P phones share a common defect in that they are equipped
 5   with the Defect.
 6          136.    Despite demands by Plaintiffs and the Class for Huawei to pay the
 7   expenses associated with diagnosing and repairing the defective phones, Huawei has
 8   refused to do so.
 9          137.    As a direct and proximate result of Huawei’s breach of implied and
10   express warranties pursuant to 15 U.S.C. § 2310(d)(1), Plaintiffs and Class members
11   have suffered damages in an amount to be proven at trial.
12          138.    Plaintiffs and the other Class members would suffer economic hardship if
13   they returned their Phones but did not receive the return of all payments made by them.
14   Because Huawei is refusing to acknowledge any revocation of acceptance and return
15   immediately any payments made, Plaintiffs and the other Class members have not re-
16   accepted their Phones by retaining them.
17          139.    The amount in controversy of Plaintiffs’ individual claims meets or
18   exceeds the sum of $25. The amount in controversy of this action exceeds the sum of
19   $50,000, exclusive of interest and costs, computed on the basis of all claims to be
20   determined in this lawsuit.
21          140.    Plaintiffs and Class members are entitled to recover damages as a result
22   of Defendants’ breach of warranties.
23          141.    Plaintiffs and Class members are also entitled to seek costs and expenses,
24   including attorneys’ fees, under the MMWA. 15 U.S.C. § 2310(d)(2).
25
26
27
28
     Complaint, Case No. 5:17-cv-2185
                                                35
           Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 36 of 65


 1   B.     California Subclass
 2
                                           COUNT IV
 3                          BREACH OF EXPRESS WARRANTY
 4                                 C AL . C OM . C ODE § 2313
                                      (Against Huawei)
 5
                              (On Behalf of the California Subclass)
 6          142. Plaintiffs repeat and reallege the allegations above as if fully set forth
 7   herein.
 8          143. This claim is brought by Plaintiff Makcharoenwoodhi on behalf of the
 9   California Subclass.
10          144. Huawei is and was at all relevant times a merchant with respect to
11   smartphones. CAL. COM. CODE § 2104.
12          145. Pursuant to CAL. COM. CODE § 2313:
13
                  (1) Express warranties by the seller are created as follows:
14
15                      (a) Any affirmation of fact or promise made by the
                        seller to the buyer which relates to the goods and
16
                        becomes part of the basis of the bargain creates an
17                      express warranty that the goods shall conform to the
                        affirmation or promise.
18
19   Id.
20          146. In its warranty and in advertisements, brochures, and through other
21   statements in the media, Huawei expressly warranted that it would repair or replace
22   defects in material or workmanship free of charge if they became apparent during the
23   warranty period. For example, Huwaei also expressly warranted that they would repair
24   and/or replace “any parts of the [Phone] that are defective or malfunctioning during
25   normal usage.”
26          147. Huawei’s warranty, as well as advertisements, brochures, and other
27   statements in the media regarding the Class Phones, formed the basis of the bargain that
28
     Complaint, Case No. 5:17-cv-2185
                                                36
         Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 37 of 65


 1
     was reached when Plaintiff Makcharoenwoodhi and the other Class members purchased
 2
     their Class Phones.
 3
           148. Huawei breached the express warranty to repair and adjust to correct
 4
     defects in materials and workmanship in the Phones. Huawei has not repaired or
 5
     adjusted, and has been unable to repair or adjust, the Defect in Class Phones.
 6
           149. At the time of selling Class Phones, Huawei did not provide Class Phones
 7
     that conformed to its express warranties.
 8
           150. Furthermore, the warranty of repair and/or adjustments to defective parts
 9
     fails in its essential purpose because the contractual remedy is insufficient to make
10
     Plaintiff Makcharoenwoodhi and the other Class members whole and because Huawei
11
     has failed and/or has refused to adequately provide the promised remedies within a
12
     reasonable time.
13
           151. Accordingly, recovery by Plaintiff Makcharoenwoodhi and the other Class
14
     members is not limited to the limited warranty of repair or adjustments to parts
15
     defective in materials or workmanship, and Plaintiff, individually and on behalf of the
16
     other Class members, seeks all remedies as allowed by law.
17
           152. Also, as alleged in more detail herein, at the time that Huawei warranted
18
     and sold the Class Phones it knew that the Class Phones did not conform to the
19
     warranties and were inherently defective, and Huawei wrongfully and fraudulently
20
     misrepresented and/or concealed material facts regarding its Class Phones. Plaintiff
21
     Makcharoenwoodhi and the other Class members were therefore induced to purchase
22
     the Class Phones under false and/or fraudulent pretenses.
23
           153. Moreover, many of the injuries flowing from the Class Phones cannot be
24
     resolved through the limited remedy of “replacement or adjustments,” as many
25
     incidental and consequential damages have already been suffered due to Huawei’s
26
     fraudulent conduct as alleged herein, and due to its failure and/or continued failure to
27
     provide such limited remedy within a reasonable time, and any limitation on Plaintiff’s
28
     Complaint, Case No. 5:17-cv-2185
                                                 37
         Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 38 of 65


 1
     and the other Class members’ remedies would be insufficient to make Plaintiff and the
 2
     other Class members whole.
 3
           154. Huawei was provided notice of these issues by numerous complaints filed
 4
     against it, including the instant complaint, and by numerous individual communications
 5
     sent by the other Class members before or within a reasonable amount of time after the
 6
     allegations of the Defect became public.
 7
           155. As a direct and proximate result of Huawei’s breach of express warranties,
 8
     Plaintiff Makcharoenwoodhi and the other Class members have been damaged in an
 9
     amount to be determined at trial.
10
11                                COUNT V
     VIOLATION OF THE SONG-BEVERLY CONSUMER WARRANTY ACT FOR
12        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                      (CAL. CIV. CODE §§ 1791.1 & 1792)
13                        (Against Defendants)
14                (On Behalf of the California Subclass)
15         156. Plaintiffs repeat and reallege the allegations above as if fully set forth
16   herein.
17         157. Plaintiff Makcharoenwoodhi brings this Count on behalf of the California
18   Subclass.
19         158. Plaintiff and the other Class members who purchased Nexus 6P
20   smartphones in California are “buyers” within the meaning of CAL. CIV. CODE
21   § 1791(b).
22         159. The Nexus 6P smartphones are “consumer goods” within the meaning of
23   CAL. CIV. CODE § 1791(a).
24         160. Huawei is a “manufacturer” of the Nexus 6P smartphones within the
25   meaning of CAL. CIV. CODE § 1791(j).
26         161. Defendants impliedly warranted to Plaintiff and the other Class members
27   that their Nexus 6P smartphones were “merchantable” within the meaning of CAL.
28   CIV. CODE §§ 1791.1(a) & 1792; however, the Nexus 6P smartphones do not have the
     Complaint, Case No. 5:17-cv-2185
                                                38
         Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 39 of 65


 1
     quality that a buyer would reasonably expect.
 2
           162. CAL. CIV. CODE § 1791.1(a) states:
 3
           “Implied warranty of merchantability” or “implied warranty that
 4         goods are merchantable” means that the consumer goods meet each
           of the following:
 5
           (1)    Pass without objection in the trade under the contract
 6                description.
 7         (2)    Are fit for the ordinary purposes for which such goods are
                  used.
 8
           (3)    Are adequately contained, packaged, and labeled.
 9
           (4)     Conform to the promises or affirmations of fact made on the
10                 container or label.
11
           163. The Nexus 6P smartphones would not pass without objection in the
12
     smartphone trade because of the Defect.
13
           164. Defendants breached the implied warranty of merchantability by
14
     manufacturing and selling Nexus 6P smartphones containing the Defect. Furthermore,
15
     this Defect has caused Plaintiff and the other Class members to not receive the benefit
16
     of their bargain.
17
           165. As a direct and proximate result of Defendants’ breach of the implied
18
     warranty of merchantability, Plaintiff and the other Class members received goods
19
     whose defective condition substantially impairs their value to Plaintiff and the other
20
     Class members. Plaintiff and the other Class members have been damaged as a result
21
     of the diminished value of Defendants’ products, the products’ malfunctioning, and the
22
     nonuse of their Nexus 6P smartphones.
23
           166. Plaintiff and the other Class members have had sufficient direct dealings
24
     with either Defendants or their agents (e.g., dealerships and technical support) to
25
     establish privity of contract between Defendants on one hand, and Plaintiff and each of
26
     the other Class members on the other hand. Nonetheless, privity is not required here
27
     because Plaintiff and each of the other Class members are intended third-party
28
     Complaint, Case No. 5:17-cv-2185
                                                39
          Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 40 of 65


 1
     beneficiaries of contracts between Defendants and their retailers, and specifically, of
 2
     Defendants’ implied warranties. The retailers were not intended to be the ultimate
 3
     consumers of the Nexus 6P smartphones and have no rights under the warranty
 4
     agreements provided with the Nexus 6P smartphones; the warranty agreements were
 5
     designed for and intended to benefit the consumers only.
 6
           167. Pursuant to CAL. CIV. CODE §§ 1791.1(d) & 1794, Plaintiff and the other
 7
     Class members are entitled to damages and other legal and equitable relief, including,
 8
     at their election, the purchase price of their Nexus 6P smartphones, or the overpayment
 9
     or diminution in value of their Nexus 6P smartphones .
10
           168. Pursuant to CAL. CIV. CODE § 1794, Plaintiff and the other Class members
11
     are entitled to costs and attorneys’ fees.
12
                                    COUNT VI
13             BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                              (CAL. COM. CODE § 2314)
14
                              (Against Defendants)
15                    (On Behalf of the California Subclass)
16         169. Plaintiffs repeat and reallege the allegations above as if fully set forth
17   herein.
18         170.    Plaintiff Makcharoenwoodhi brings this Count on behalf of the
19   California Subclass.
20         171.    Defendants are and were at all relevant times merchants with respect to
21   smartphones under CAL. COM. CODE § 2014.
22         172.    A warranty that the Nexus 6P smartphones were in merchantable
23   condition is implied by law in the instant transactions, pursuant to CAL. COM. CODE §
24   2314. These phones, when sold and at all times thereafter, were not in merchantable
25   condition and are not fit for the ordinary purpose for which phones are used.
26         173.    Defendants were provided notice of these issues by complaints lodged
27   by consumers with blogs, warranty claims and elsewhere.
28
     Complaint, Case No. 5:17-cv-2185
                                                  40
             Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 41 of 65


 1
              174. As a direct and proximate result of Defendants’ breach of the warranties
 2
     of merchantability, Plaintiff and the other Class members have been damaged in an
 3
     amount to be proven at trial.
 4
 5                                        COUNT VII
             VIOLATIONS OF THE CALIFORNIA UNFAIR COMPETITION LAW
 6                 (CAL . B US . & P ROF . C ODE § 17200, et seq.) (“UCL”)
 7                                 (Against Defendants)
                        (On Behalf of the California Subclass)
 8
              175. Plaintiffs repeat and reallege the allegations above as if fully set forth
 9
     herein.
10
              176.   This claim is brought on behalf of Plaintiff Makcharoenwoodhi and the
11
     California Subclass.
12
              177. The UCL proscribes acts of unfair competition, including “any unlawful,
13
     unfair or fraudulent business act or practice and unfair, deceptive, untrue or misleading
14
     advertising.”
15
              178.   Defendants’ conduct, as described herein, was and is in violation of the
16
     UCL. Defendants’ conduct violates the UCL in at least the following ways:
17
               a.    Knowingly and intentionally concealing from Plaintiff and the other Class
18
                     members the existence of the Defect in the Class Phones;
19
               b.    Marketing the Class Phones as being functional and not possessing a
20
                     defect that would render them useless; and
21
               c.    Violating other California laws, including California laws governing false
22
                     advertising and consumer protection.
23
              179.   Defendants’ misrepresentations and omissions alleged herein caused
24
     Plaintiff and the other Class members to purchase their Class Phones. Absent these
25
     misrepresentations and omissions, Plaintiff and the other Class members would not
26
     have purchased their Class Phones at the prices they paid (had they purchased them at
27
     all).
28
     Complaint, Case No. 5:17-cv-2185
                                                  41
          Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 42 of 65


 1
           180.    Defendants had a duty to disclose the Defect because they had exclusive
 2
     knowledge of the Defect prior to making sales of Class Phones and because
 3
     Defendants made partial representations about the quality of the Phones, but failed to
 4
     fully disclose the Defect too.
 5
           181.    Accordingly, Plaintiff and the other Class members have suffered injury
 6
     in fact, including lost money or property, as a result of Defendants’ misrepresentations
 7
     and omissions.
 8
           182.    Plaintiff seeks to enjoin further unlawful, unfair, and/or fraudulent acts
 9
     or practices by Defendants under CAL. BUS. & PROF. CODE § 17200.
10
           183.    Plaintiff requests that this Court enter such orders or judgments as may
11
     be necessary to enjoin Defendants from continuing their unfair, unlawful, and/or
12
     deceptive practices, and to restore to Plaintiff and members of the Class any money
13
     they acquired by unfair competition, including restitution and/or restitutionary
14
     disgorgement, as provided in CAL. BUS. & PROF. CODE §§ 17203 & 3345; and for such
15
     other relief set forth below.
16
17                                       COUNT VIII
                     VIOLATION OF THE CALIFORNIA CONSUMERS
18                                 LEGAL REMEDIES ACT
19                  (CAL . B US . & P ROF . C ODE § 1750, et seq.) (“CLRA”)
                                    (Against Defendants)
20
                        (On Behalf of the California Subclass)
21         184. Plaintiffs repeat and reallege the allegations above as if fully set forth
22   herein.
23         185.    This claim is brought on behalf of Plaintiff Makcharoenwoodhi and the
24   California Subclass.
25         186.    The CLRA proscribes “unfair methods of competition and unfair or
26   deceptive acts or practices undertaken by any person in a transaction intended to result
27   or which results in the sale of goods or services to any consumer.”
28
     Complaint, Case No. 5:17-cv-2185
                                                42
         Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 43 of 65


 1
           187.      The Class Phones are “goods” as defined in CAL. BUS. & PROF. CODE
 2
     § 1761(a).
 3
           188.      Plaintiff and the other Class members are “consumers” as defined in CAL.
 4
     BUS. & PROF. CODE § 1761(d), and Plaintiff, the other Class members, and Defendants
 5
     are “persons” as defined in CAL. BUS. & PROF. CODE § 1761(c).
 6
           189.      As alleged above, Defendants made numerous representations concerning
 7
     the benefits, performance, and capabilities of the Class Phones that were misleading. In
 8
     purchasing the Class Phones, Plaintiff and the other Class members were deceived by
 9
     Defendants’ failure to disclose that the Class Phones are highly susceptible to the
10
     Defect.
11
           190.      Defendants’ conduct, as described herein, was and is in violation of the
12
     CLRA.        Defendants’ conduct violates at least the following enumerated CLRA
13
     provisions:
14
            a.      § 1770(a)(2): Misrepresenting the approval or certification of goods;
15
            b.      § 1770(a)(5): Representing that goods have sponsorship, approval,
16
                    characteristics, uses, benefits, or quantities which they do not have;
17
            c.      § 1770(a)(7): Representing that goods are of a particular standard, quality,
18
                    or grade, if they are of another;
19
            d.      § 1770(a)(9): Advertising goods with intent not to sell them as advertised;
20
                    and
21
            e.      § 1770(a)(16): Representing that goods have been supplied in accordance
22
                    with a previous representation when they have not.
23
           191.      Plaintiff and the other Class members have suffered injury in fact and
24
     actual damages resulting from Defendants’ material omissions and misrepresentations
25
     because, inter alia, they lost money when they purchased their Class Phones or paid an
26
     inflated purchase price for the Class Phones.
27
           192.      Defendants knew, should have known, or were reckless in not knowing
28
     Complaint, Case No. 5:17-cv-2185
                                                   43
          Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 44 of 65


 1
     that the Defect in the Class Phones rendered them not suitable for their intended use.
 2
           193.    Defendants had a duty to disclose the Defect because Huawei and
 3
     Google had exclusive knowledge of the Defect prior to making sales of Class Phones
 4
     and because Defendants made partial representations about the quality of the Phones,
 5
     but failed to fully disclose the Defect.
 6
           194.    The facts concealed and omitted by Defendants to Plaintiff and the other
 7
     Class members — that the Phones are defective and fail prematurely — are material in
 8
     that a reasonable consumer would have considered them to be important in deciding
 9
     whether to purchase the Class Phones or pay a lower price. Had Plaintiff and the other
10
     Class members known about the defective nature of the Class Phones, they would not
11
     have purchased their Class Phones, or would not have paid the prices they paid.
12
           195.    This cause of action seeks injunctive relief at this time. However, Plaintiff
13
     sent a demand letter to each Defendant via certified mail pursuant to the requirements
14
     of the CLRA on April 19, 2017 providing the notice required by CAL. CIV. CODE §
15
     1782(a). The CLRA letter advised Defendants that they are in violation of the CLRA
16
     and must correct, replace or otherwise rectify the goods alleged to be in violation of
17
     CAL. CIV. CODE § 1770. Defendants were further advised that in the event the relief
18
     requested has not been provided within thirty (30) days, Plaintiff will amend his
19
     complaint to include a request for monetary damages pursuant to the CLRA. If
20
     Defendants do not correct, replace, or otherwise rectify the goods and issues alleged in
21
     either Plaintiff’s CLRA notice or this complaint within the statutorily proscribed 30-day
22
     period, Plaintiff will amend this complaint to seek both injunctive relief and monetary
23
     damages against Defendants pursuant to the CLRA, CAL. CIV. CODE §§ 1781 and 1782.
24
           196. Plaintiff further seeks an order awarding costs of court and attorneys’ fees
25
     under CAL. CIV. CODE § 1780(e).
26
27
28
     Complaint, Case No. 5:17-cv-2185
                                                 44
         Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 45 of 65


 1                                        COUNT IX
 2             VIOLATION OF CALIFORNIA’S FALSE ADVERTISING LAW
                   (C AL . B US . & P ROF . C ODE § 17500, et seq.) (“FAL”)
 3                                 (Against Defendants)
 4                      (On Behalf of the California Subclass)

 5         197. Plaintiffs repeat and reallege the allegations above as if fully set forth

 6   herein.

 7         198.    This claim is brought on behalf of Plaintiff Makcharoenwoodhi and the

 8   California Subclass.

 9         199.    The California FAL states:

10
                         “It is unlawful for any . . . corporation . . . with intent
11                 directly or indirectly to dispose of real or personal property .
12                 . . to induce the public to enter into any obligation relating
                   thereto, to make or disseminate or cause to be made or
13                 disseminated . . . from this state before the public in any
14                 state, in any newspaper or other publication, or any
                   advertising device, . . . or in any other manner or means
15                 whatever, including over the Internet, any statement . . .
16                 which is untrue or misleading, and which is known, or
                   which by the exercise of reasonable care should be known,
17                 to be untrue or misleading.”
18
                   CAL. BUS. & PROF. CODE § 17500
19
           200.    Defendants caused to be made or disseminated through California and
20
     the United States, through advertising, marketing and other publications, statements
21
     that were untrue or misleading, and which were known, or which by the exercise of
22
     reasonable care should have been known to Defendants, to be untrue and misleading to
23
     consumers, including Plaintiff and the other Class members.
24
           201.    Defendants    have    violated     the   California   FAL     because   the
25
     misrepresentations and omissions regarding the reliability and functionality of Class
26
     Phones, as set forth herein, were material and likely to deceive a reasonable consumer.
27
           202.    Plaintiff and the other Class members have suffered an injury in fact,
28
     Complaint, Case No. 5:17-cv-2185
                                                 45
         Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 46 of 65


 1
     including the loss of money or property, as a result of Defendants’ unfair, unlawful,
 2
     and/or deceptive practices. In purchasing their Class Phones, Plaintiff and the other
 3
     Class members relied on the misrepresentations and/or omissions of Defendants with
 4
     respect to the performance and reliability of the Class Phones. Defendants’
 5
     representations turned out not to be true because the Class Phones are defective.
 6
           203.    All of the wrongful conduct alleged herein occurred, and continues to
 7
     occur, in the conduct of Defendants’ business. Defendants’ wrongful conduct is part of
 8
     a pattern or generalized course of conduct that is still perpetuated and repeated, both in
 9
     the state of California and nationwide.
10
           204.    Plaintiff, individually and on behalf of the other Class members, request
11
     that this Court enter such orders or judgments as may be necessary to enjoin
12
     Defendants from continuing their unfair, unlawful, and/or deceptive practices and to
13
     restore to Plaintiff and the other Class members any money Defendants acquired by
14
     unfair competition, including restitution and/or restitutionary disgorgement, and for
15
     such other relief set forth below.
16
17                                       COUNT X
                          FRAUD/FRAUDULENT CONCEALMENT
18                                 (Against Defendants)
19                          (On Behalf of the California Subclass)

20         205. Plaintiffs repeat and reallege the allegations above as if fully set forth

21   herein.

22         206. This claim is brought on behalf of all Plaintiff Makcharoenwoodhi and

23   the California Subclass.

24         207.    Defendants concealed and suppressed material facts concerning the

25   performance and quality of the Class Phones, and the quality of the Huawei, Google,

26   and Nexus brands. Specifically, Defendants knew of (or should have known of) the

27   Defect, but failed to disclose it prior to or at the time they sold Class Phones to

28   consumers. Defendants did so in order to boost sales of their Nexus 6P smartphones.

     Complaint, Case No. 5:17-cv-2185
                                                 46
         Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 47 of 65


 1
           208.    Plaintiff and Class members had no way of knowing that Defendants’
 2
     representations were false and misleading, or that Defendants had omitted these
 3
     imperative details. Plaintiff and Class members did not, and could not, unravel
 4
     Defendants’ deception on their own.
 5
           209.    Defendants had a duty to disclose the true performance of the Class
 6
     Phones because knowledge of the scheme and its details were known and/or accessible
 7
     only to Defendants; Defendants had superior knowledge and access to the facts; and
 8
     Defendants knew the facts were not known to, or reasonably discoverable, by Plaintiff
 9
     and the Class. Defendants also had a duty to disclose because they made many general
10
     affirmative representations about the about the qualities of the Class Phones.
11
           210.    On information and belief, Defendants still have not made full and
12
     adequate disclosures, and continue to defraud consumers by concealing material
13
     information regarding the performance of Class Phones.
14
           211.    Plaintiff and the Class were unaware of these omitted material facts and
15
     would not have acted as they did if they had known of the concealed and/or suppressed
16
     facts, in that they would not have purchased the Class Phones. Plaintiff’s and
17
     the Class’s actions were justified. Defendants were in exclusive control of the material
18
     facts and such facts were not known to the public, Plaintiff, or the Class.
19
           212.    Because of the concealment and/or suppression of the facts, Plaintiff and
20
     the Class sustained damage because they did not receive the value of the premium
21
     price paid for their Class Phones. Plaintiff and Class members would have paid less for
22
     Class Phones had they known about the Defect and the entire truth about them, or they
23
     would not have purchased Class Phones at all.
24
           213.    Accordingly, Defendants are liable to the Class for damages in an
25
     amount to be proven at trial.
26
           214.    Defendants’ acts were done maliciously, oppressively, deliberately, with
27
     intent to defraud, and in reckless disregard of Plaintiff’s and the Class’s rights and
28
     Complaint, Case No. 5:17-cv-2185
                                                 47
          Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 48 of 65


 1
     well-being to enrich Defendants. Defendants’ conduct warrants an assessment of
 2
     punitive damages in an amount sufficient to deter such conduct in the future, which
 3
     amount is to be determined according to proof.
 4
           215.    Defendants have been unjustly enriched by its fraudulent, deceptive, and
 5
     otherwise unlawful conduct in connection with the sale of Class Phones and by
 6
     withholding benefits from Plaintiff and the Class at the expense of these parties.
 7
           216.    Equity and good conscience militate against permitting Defendants to
 8
     retain these profits and benefits, and Defendants should be required to make restitution
 9
     of its ill-gotten gains resulting from the conduct alleged herein.
10
     C.    Florida Subclass
11
12                                         COUNT XI
                        BREACH OF EXPRESS WARRANTY
13                                  F LA . S TAT . § 672.313
14                                     (Against Huawei)
                   (On Behalf of Plaintiff Winfield and the Florida Subclass)
15
           217. Plaintiffs repeat and reallege the allegations above as if fully set forth
16
     herein.
17
           218. This claim is brought by Plaintiff Winfield on behalf of the Florida
18
     Subclass.
19
           219. Huawei is and was at all relevant times a merchant with respect to
20
     smartphones. FLA. STAT. § 672.104.
21
           220. Pursuant to FLA. STAT. § 672.313:
22
23                (1) Express warranties by the seller are created as follows:

24                       (a) Any affirmation of fact or promise made by the
25                       seller to the buyer which relates to the goods and
                         becomes part of the basis of the bargain creates an
26                       express warranty that the goods shall conform to the
27                       affirmation or promise.
28
     Complaint, Case No. 5:17-cv-2185
                                                 48
           Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 49 of 65


 1   Id.
 2           221. In its warranty and in advertisements, brochures, and through other
 3   statements in the media, Huawei expressly warranted that it would repair or replace
 4   defects in material or workmanship free of charge if they became apparent during the
 5   warranty period. For example, Huwaei also expressly warranted that they would repair
 6   and/or replace “any parts of the [Phone] that are defective or malfunctioning during
 7   normal usage.”
 8           222. Huawei’s warranty, as well as advertisements, brochures, and other
 9   statements regarding the Class Phones, formed the basis of the bargain that was reached
10   when Plaintiff Winfield and the other Class members purchased their Class Phones.
11           223. Huawei breached the express warranty to repair and adjust to correct
12   defects in materials and workmanship in the Phones. Huawei has not repaired or
13   adjusted, and has been unable to repair or adjust, the Defect in Class Phones.
14           224. At the time of selling Class Phones, Huawei did not provide Class Phones
15   that conformed to its express warranties.
16           225. Furthermore, the warranty of repair and/or adjustments to defective parts
17   fails in its essential purpose because the contractual remedy is insufficient to make
18   Plaintiff Winfield and the other Class members whole and because Huawei has failed
19   and/or has refused to adequately provide the promised remedies within a reasonable
20   time.
21           226. Accordingly, recovery by Plaintiff Winfield and the other Class members
22   is not limited to the limited warranty of repair or adjustments to parts defective in
23   materials or workmanship, and Plaintiff, individually and on behalf of the other Class
24   members, seeks all remedies as allowed by law.
25           227. Also, as alleged in more detail herein, at the time that Huawei warranted
26   and sold the Class Phones it knew that the Class Phones did not conform to the
27   warranties and were inherently defective, and Huawei wrongfully and fraudulently
28
     Complaint, Case No. 5:17-cv-2185
                                                 49
         Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 50 of 65


 1
     misrepresented and/or concealed material facts regarding its Class Phones. Plaintiff
 2
     Winfield and the other Class members were therefore induced to purchase the Class
 3
     Phones under false and/or fraudulent pretenses.
 4
           228. Moreover, many of the injuries flowing from the Class Phones cannot be
 5
     resolved through the limited remedy of “replacement or adjustments,” as many
 6
     incidental and consequential damages have already been suffered due to Huawei’s
 7
     fraudulent conduct as alleged herein, and due to its failure and/or continued failure to
 8
     provide such limited remedy within a reasonable time, and any limitation on Plaintiff’s
 9
     and the other Class members’ remedies would be insufficient to make Plaintiff and the
10
     other Class members whole.
11
           229. Huawei was provided notice of these issues by numerous complaints filed
12
     against it, including the instant complaint, and by numerous individual communications
13
     sent by the other Class members before or within a reasonable amount of time after the
14
     allegations of the Defect became public.
15
           230. As a direct and proximate result of Huawei’s breach of express warranties,
16
     Plaintiff Winfield and the other Class members have been damaged in an amount to be
17
     determined at trial.
18
           231. Due to Huawei’s breach of warranties as set forth herein, Plaintiff Winfield
19
     and the other Class members assert as an additional and/or alternative remedy, as set
20
     forth in FLA. STAT. § 672.608, for a revocation of acceptance of the goods, and for a
21
     return to Plaintiff and to the other Class members of the purchase price of all Class
22
     Phones currently owned for such other incidental and consequential damages as
23
     allowed under FLA. STAT. §§ 672.711 and 672.608.
24
25
26
27
28
     Complaint, Case No. 5:17-cv-2185
                                                50
         Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 51 of 65


 1                                 COUNT XII
 2   BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
                             F LA . S TAT . § 672.314
 3                            (Against Defendants)
 4          (On Behalf of Plaintiff Winfield and the Florida Subclass)

 5         232. Plaintiffs repeat and reallege the allegations above as if fully set forth

 6   herein.

 7         233. This claim is brought by Plaintiff Winfield on behalf of the Florida

 8   Subclass.

 9         234. Defendants are and were at all relevant times merchants with respect to

10   smartphones. FLA. STAT. § 672.104.

11         235. A warranty that the Class Vehicles were in merchantable condition is

12   implied by law. FLA. STAT. § 672.314.

13         236. The Class Phones, when sold and at all times thereafter, were not in

14   merchantable condition and are not fit for the ordinary purpose for which smartphones

15   are used.

16         237. Defendants were provided notice of these issues by numerous complaints

17   filed against them, including the instant Complaint, and by numerous individual letters

18   and communications sent by Plaintiffs and other Class members before or within a

19   reasonable amount of time after the allegations of the Defect became public.

20         238. As a direct and proximate result of Defendants’ breach of the implied

21   warranty of merchantability, Plaintiff Winfield and the other Class members have been

22   damaged in an amount to be proven at trial.

23         239. To the extent it is required, the parties are in privity or, alternatively,

24   Plaintiff and Class members are the intended beneficiaries of Defendants’ contracts.

25
26
27
28
     Complaint, Case No. 5:17-cv-2185
                                               51
         Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 52 of 65


 1                                       COUNT XIII
 2             VIOLATION OF THE FLORIDA DECEPTIVE & UNFAIR
                      TRADE PRACTICES ACT (“FDUTPA”)
 3                             F LA . S TAT . §§ 501.204, et seq.
 4                                   (Against Defendants)
                  (On Behalf of Plaintiff Winfield and the Florida Subclass)
 5
           240. Plaintiffs repeat and reallege the allegations above as if fully set forth
 6
     herein.
 7
           241. This claim is brought on behalf of Plaintiff Winfield and the Florida
 8
     Subclass.
 9
           242. The FDUPTA prohibits “[u]nfair methods of competition, unconscionable
10
     acts or practices, and unfair or deceptive acts or practices in the conduct of any trade or
11
     commerce.” FLA. STAT. § 501.204(1).
12
           243. In the course of Defendants’ business, they willfully failed to disclose and
13
     actively concealed the Defect in Class Phones as described herein.
14
           244. Accordingly, Defendants engaged in unfair methods of competition,
15
     unconscionable acts or practices, and unfair or deceptive acts or practices as defined in
16
     FLA. STAT. § 501.204(1), including representing that Class Phones have characteristics,
17
     uses, benefits, and qualities which they do not have; representing that Class Phones are
18
     of a particular standard and quality when they are not; advertising Class Phones with
19
     the intent not to sell them as advertised; and otherwise engaging in conduct likely to
20
     deceive.
21
           245. Defendants’ actions as set forth above occurred in the conduct of trade or
22
     commerce.
23
           246. Defendants’ conduct proximately caused injuries to Plaintiff Winfield and
24
     the other Florida Subclass members.
25
           247. Plaintiff Winfield and the other class members were injured as a result of
26
     Defendants’ conduct in that they overpaid for their Class Phones and did not receive the
27
     benefit of their bargain, they suffered out of pocket losses, and/or their Class Phones
28
     Complaint, Case No. 5:17-cv-2185
                                                 52
         Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 53 of 65


 1
     have suffered a diminution in value. These injuries are the direct and natural
 2
     consequence of Defendants’ misrepresentations and omissions.
 3
           248. Plaintiff is entitled to actual damages and, pursuant to FLA. STAT. §
 4
     501.2105, reasonable costs and attorneys’ fees.
 5
 6                                       COUNT XIV
                        FRAUD/FRAUDULENT CONCEALMENT
 7                                  (Against Defendants)
 8                (On Behalf of Plaintiff Winfield and the Florida Subclass)

 9         249. Plaintiffs repeat and reallege the allegations above as if fully set forth

10   herein.

11         250. This claim is brought on behalf of all Plaintiff Winfield and the Florida

12   Subclass.

13         251.    Defendants concealed and suppressed material facts concerning the

14   performance and quality of the Class Phones, and the quality of the Huawei, Google,

15   and Nexus brands. Specifically, Defendants knew of (or should have known of) the

16   Defect, but failed to disclose it prior to or at the time they sold Class Phones to

17   consumers. Defendants did so in order to boost sales of their Nexus 6P smartphones.

18         252.    Plaintiff and Class members had no way of knowing that Defendants’

19   representations were false and misleading, or that Defendants had omitted these

20   imperative details. Plaintiff and Class members did not, and could not, unravel

21   Defendants’ deception on their own.

22         253.    Defendants had a duty to disclose the true performance of the Class

23   Phones because knowledge of the scheme and its details were known and/or accessible

24   only to Defendants; Defendants had superior knowledge and access to the facts; and

25   Defendants knew the facts were not known to, or reasonably discoverable, by Plaintiff

26   and the Class. Defendants also had a duty to disclose because they made many general

27   affirmative representations about the about the qualities of the Class Phones.

28
     Complaint, Case No. 5:17-cv-2185
                                                53
         Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 54 of 65


 1
           254.    On information and belief, Defendants still have not made full and
 2
     adequate disclosures, and continue to defraud consumers by concealing material
 3
     information regarding the performance of Class Phones.
 4
           255.    Plaintiff and the Class were unaware of these omitted material facts and
 5
     would not have acted as they did if they had known of the concealed and/or suppressed
 6
     facts, in that they would not have purchased the Class Phones. Plaintiff’s and
 7
     the Class’s actions were justified. Defendants were in exclusive control of the material
 8
     facts and such facts were not known to the public, Plaintiff, or the Class.
 9
           256.    Because of the concealment and/or suppression of the facts, Plaintiff and
10
     the Class sustained damage because they did not receive the value of the premium
11
     price paid for their Class Phones. Plaintiff and Class members would have paid less for
12
     Class Phones had they known about the Defect and the entire truth about them, or they
13
     would not have purchased Class Phones at all.
14
           257.    Accordingly, Defendants are liable to the Class for damages in an
15
     amount to be proven at trial.
16
           258.    Defendants’ acts were done maliciously, oppressively, deliberately, with
17
     intent to defraud, and in reckless disregard of Plaintiff’s and the Class’s rights and
18
     well-being to enrich Defendants. Defendants’ conduct warrants an assessment of
19
     punitive damages in an amount sufficient to deter such conduct in the future, which
20
     amount is to be determined according to proof.
21
                                          COUNT XV
22                                UNJUST ENRICHMENT
23                                   (Against Defendants)
                   (On Behalf of Plaintiff Winfield and the Florida Subclass)
24
           259. Plaintiffs repeat and reallege the allegations above as if fully set forth
25
     herein.
26
           260.    This claim is brought by Plaintiff Winfield on behalf of the Florida
27
     Subclass. This claim is pled in the alternative to the other claims set forth herein.
28
     Complaint, Case No. 5:17-cv-2185
                                                  54
          Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 55 of 65


 1
           261.    As the intended and expected result of its conscious wrongdoing,
 2
     Defendants have profited and benefited from Plaintiff’s and Class members’ purchase
 3
     of Class Phones containing the Defect.
 4
           262.    Defendants have voluntarily accepted and retained these profits and
 5
     benefits with full knowledge and awareness that, as a result of their misconduct
 6
     alleged herein, Plaintiff and the Class were not receiving Phones of the quality, nature,
 7
     fitness, or value that had been represented by Defendants, and that a reasonable
 8
     consumer would expect.
 9
           263.    Defendants have been unjustly enriched by their fraudulent, deceptive,
10
     and otherwise unlawful conduct in connection with the sale of Class Phones and by
11
     withholding benefits from Plaintiff and the Class at the expense of these parties.
12
           264.    Equity and good conscience militate against permitting Defendants to
13
     retain these profits and benefits, and Defendants should be required to make restitution
14
     of their ill-gotten gains resulting from the conduct alleged herein.
15
     D.    Indiana Subclass
16                                        COUNT XVI
17                        BREACH OF EXPRESS WARRANTY
                                   I ND . C ODE § 26-1-2-313
18                                     (Against Huawei)
19                 (On Behalf of Plaintiff Beheler and the Indiana Subclass)

20         265. Plaintiffs repeat and reallege the allegations above as if fully set forth

21   herein.

22         266. This claim is brought by Plaintiff Beheler on behalf of the Indiana

23   Subclass.

24         267. Huawei is and was at all relevant times a merchant with respect to

25   smartphones. IND. CODE § 26-1-2-104.

26         268. Pursuant to IND. CODE § 26-1-2-313:

27                (1) Express warranties by the seller are created as follows:
28
     Complaint, Case No. 5:17-cv-2185
                                                 55
           Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 56 of 65


 1                       (a) any affirmation of fact or promise made by the
 2                       seller to the buyer which relates to the goods and
                         becomes part of the basis of the bargain creates an
 3                       express warranty that the goods shall conform to the
 4                       affirmation or promise.

 5   Id.
 6           269. In its warranty and in advertisements, brochures, and through other
 7   statements in the media, Huawei expressly warranted that it would repair or replace
 8   defects in material or workmanship free of charge if they became apparent during the
 9   warranty period. For example, Huwaei also expressly warranted that they would repair
10   and/or replace “any parts of the [Phone] that are defective or malfunctioning during
11   normal usage.”
12           270. Huawei’s warranty, as well as advertisements, brochures, and other
13   statements in the media regarding the Class Phones, formed the basis of the bargain that
14   was reached when Plaintiff Beheler and the other Class members purchased their Class
15   Phones, thereby constituting express warranties under IND. CODE § 26-1-2-313.
16           271. Huawei breached the express warranty to repair and adjust to correct
17   defects in materials and workmanship in the Phones. Huawei has not repaired or
18   adjusted, and has been unable to repair or adjust, the Defect in Class Phones.
19           272. At the time of selling Class Phones, Huawei did not provide Class Phones
20   that conformed to its express warranties.
21           273. Furthermore, the warranty of repair and/or adjustments to defective parts
22   fails in its essential purpose because the contractual remedy is insufficient to make
23   Plaintiff Beheler and the other Class members whole and because Huawei has failed
24   and/or has refused to adequately provide the promised remedies within a reasonable
25   time.
26           274. Accordingly, recovery by Plaintiff Beheler and the other Class members is
27   not limited to the limited warranty of repair or adjustments to parts defective in
28
     Complaint, Case No. 5:17-cv-2185
                                                 56
         Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 57 of 65


 1
     materials or workmanship, and Plaintiff, individually and on behalf of the other Class
 2
     members, seeks all remedies as allowed by law.
 3
           275. Also, as alleged in more detail herein, at the time that Huawei warranted
 4
     and sold the Class Phones it knew that the Class Phones did not conform to the
 5
     warranties and were inherently defective, and Huawei wrongfully and fraudulently
 6
     misrepresented and/or concealed material facts regarding its Class Phones. Plaintiff
 7
     Beheler and the other Class members were therefore induced to purchase the Class
 8
     Phones under false and/or fraudulent pretenses.
 9
           276. Moreover, many of the injuries flowing from the Class Phones cannot be
10
     resolved through the limited remedy of “replacement or adjustments,” as many
11
     incidental and consequential damages have already been suffered due to Huawei’s
12
     fraudulent conduct as alleged herein, and due to its failure and/or continued failure to
13
     provide such limited remedy within a reasonable time, and any limitation on Plaintiff’s
14
     and the other Class members’ remedies would be insufficient to make Plaintiff and the
15
     other Class members whole.
16
           277. Huawei was provided notice of these issues by numerous complaints filed
17
     against it, including the instant complaint, and by numerous individual communications
18
     sent by the other Class members before or within a reasonable amount of time after the
19
     allegations of the Defect became public.
20
           278. As a direct and proximate result of Huawei’s breach of express warranties,
21
     Plaintiff Beheler and the other Class members have been damaged in an amount to be
22
     determined at trial.
23
           279. Due to Defendant’s breach of warranties as set forth herein, Plaintiff and
24
     the other Indiana Subclass members assert as an additional and/or alternative remedy,
25
     as set forth in IND. CODE § 26-1-2-313, for a revocation of acceptance of the goods,
26
     and for a return to Plaintiff and to the other Class members of the purchase price of all
27
28
     Complaint, Case No. 5:17-cv-2185
                                                57
         Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 58 of 65


 1
     Class Phones currently owned, and for such other incidental and consequential
 2
     damages as allowed under IND. CODE §§ 26-1-2-711 and 26-1-2-608.
 3
 4                                    COUNT XVII
 5        BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
                               I ND . C ODE § 26-1-2-314
 6                               (Against Defendants)
 7             (On Behalf of Plaintiff Beheler and the Indiana Subclass)

 8         280. Plaintiffs repeat and reallege the allegations above as if fully set forth

 9   herein.

10         281. This claim is brought by Plaintiff Beheler on behalf of the Indiana

11   Subclass.

12         282. Defendants are and were at all relevant times merchants with respect to

13   smartphones. IND. CODE § 26-1-2-104.

14         283. A warranty that the Class Phones were in merchantable condition is
15   implied by law in the instant transactions. IND. CODE § 26-1-2-314.
16         284. The Class Phones, when sold and at all times thereafter, were not in
17   merchantable condition and are not fit for the ordinary purpose for which smartphones
18   are used.
19         285. Defendants were provided notice of these issues by numerous complaints
20   filed against then, including the instant Complaint, and by numerous individual letters
21   and communications sent by Plaintiffs and other Class members before or within a
22   reasonable amount of time after the allegations of the Defect became public.
23         286. As a direct and proximate result of Defendants’ breach of the implied
24   warranty of merchantability, Plaintiff Beheler and the other Class members have been
25   damaged in an amount to be proven at trial.
26         287. To the extent it is required, the parties are in privity or, alternatively,
27   Plaintiff and Class members are the intended beneficiaries of Defendants’ contracts.
28
     Complaint, Case No. 5:17-cv-2185
                                               58
         Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 59 of 65


 1                                  COUNT XVIII
 2      VIOLATIONS OF THE INDIANA DECEPTIVE CONSUMER SALES ACT
                    I ND . C ODE §§ 24-5-0.5-1, et seq. (“IDCSA”)
 3                               (Against Defendants)
 4             (On Behalf of Plaintiff Beheler and the Indiana Subclass)

 5         288. Plaintiffs repeat and reallege the allegations above as if fully set forth

 6   herein.

 7         289. This claim is brought by Plaintiff Beheler on behalf of the Indiana

 8   Subclass.

 9         290. The IDCSA allows a person to bring an action for damages from “relying

10   upon an uncured or incurable deceptive act.” IND. CODE 24-5-0.5-4(a).

11         291. Additionally, the IDCSA expressly allows persons damaged by a

12   “deceptive act” to bring a class action. Id. § 24-5-0.5-4(b).

13         292. The IDCSA defines a “deceptive act” as when a supplier commits an

14   “unfair, abusive, or deceptive act, omission, or practice in connection with a consumer

15   transaction” whether such conduct occurred before, during, or after the transaction. Id. §

16   24-5-0.5-3(a).   Further,   deceptive    acts     “include   both   implicit   and   explicit

17   misrepresentations.” Id.

18         293. The IDCSA enumerates some “representations as to the subject matter of

19   the consumer transaction, made orally, in writing, or by electronic communication, by a

20   supplier” that are considered per se deceptive acts. Id. § 24-5-0.5-3(b). Pertinent here

21   are the following deceptive acts which Defendants have committed as alleged herein:

22               a.     (b)(1): That such subject of a consumer transaction has sponsorship,

23                      approval, performance, characteristics, accessories, uses, or benefits

24                      it does not have which the supplier knows or should reasonably

25                      know it does not have.

26               b.     (b)(2): That such subject of a consumer transaction is of a particular

27                      standard, quality, grade, style, or model, if it is not and if the supplier

28                      knows or should reasonably know that it is not.

     Complaint, Case No. 5:17-cv-2185
                                                  59
         Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 60 of 65


 1
                 c.     (b)(8): That such consumer transaction involves or does not involve a
 2
                        warranty, a disclaimer of warranties, or other rights, remedies, or
 3
                        obligations, if the representation is false and if the supplier knows or
 4
                        should reasonably know that the representation is false.
 5
           294. Defendants represented that Class Phones are premium products of high
 6
     quality, including (among other things) that the Phones have high-performing batteries
 7
     that will keep consumers “talking, texting, and apping into the night.”
 8
           295. But Defendants sold Class Phones to Plaintiff and the Indiana Subclass
 9
     that do not perform or have the characteristics, uses, benefits or quality that Defendants
10
     represented its Class Phones to have. Instead, Defendants sold to Plaintiff and members
11
     of the Indiana Subclass smartphones that either bootloop or, more commonly, cease
12
     operating despite indicating high percentages of remaining battery life.
13
           296. The Defect is incurable and cannot be remedied as indicated by the fact
14
     that attempted repairs and replacement devices result in the same issues for consumers.
15
           297. Defendants have refused and continue to refuse to provide an adequate
16
     remedy for the issues that plague Class Phones.
17
           298. As set forth herein, Defendants have engaged in multiple deceptive acts in
18
     violation of the IDCSA. Therefore, Plaintiff Beheler seeks both injunctive relief and
19
     monetary damages against Defendants pursuant to the IDCSA, §§ 2, 4.
20
           299. Furthermore, Defendants omitted and concealed information about the
21
     Defect from Plaintiff and Indiana Subclass members. Defendants had a duty to disclose
22
     the truth about Class Phones, including the Defect, and Plaintiff and Class members
23
     could not have discovered the truth on their own. Plaintiff and Class members relied
24
     upon Defendants’ representations and omissions with respect to Class Phones, and it
25
     was Defendants’ concealment of the Defect that induced Plaintiff and Class members to
26
     purchase Class Phones.
27
28
     Complaint, Case No. 5:17-cv-2185
                                                 60
         Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 61 of 65


 1
           300. As a result of Defendants’ conduct alleged herein, Plaintiff and members
 2
     of the Indiana Subclass have suffered irreparable harm. Plaintiff’s and the other Indiana
 3
     Subclass members’ injuries were proximately caused by Defendants’ conduct as alleged
 4
     herein. Plaintiff, individually and on behalf of all other Indiana Subclass members, seek
 5
     an award of damages for Defendants’ willful violations of the IDCSA, costs, attorneys’
 6
     fees, and such other relief as deemed appropriate and proper by the Court.
 7
 8                                      COUNT XIX
                       FRAUD/FRAUDULENT CONCEALMENT
 9                                  (Against Defendants)
10                (On Behalf of Plaintiff Beheler and the Indiana Subclass)

11         301. Plaintiffs repeat and reallege the allegations above as if fully set forth

12   herein.

13         302. This claim is brought on behalf of all Plaintiff Beheler and Indiana

14   Subclass.

15         303.    Defendants concealed and suppressed material facts concerning the

16   performance and quality of the Class Phones, and the quality of the Huawei, Google,

17   and Nexus brands. Specifically, Defendants knew of (or should have known of) the

18   Defect, but failed to disclose it prior to or at the time they sold Class Phones to

19   consumers. Defendants did so in order to boost sales of their Nexus 6P smartphones.

20         304.    Plaintiff and Class members had no way of knowing that Defendants’

21   representations were false and misleading, or that Defendants had omitted these

22   imperative details. Plaintiff and Class members did not, and could not, unravel

23   Defendants’ deception on their own.

24         305.    Defendants had a duty to disclose the true performance of the Class

25   Phones because knowledge of the scheme and its details were known and/or accessible

26   only to Defendants; Defendants had superior knowledge and access to the facts; and

27   Defendants knew the facts were not known to, or reasonably discoverable, by Plaintiff

28
     Complaint, Case No. 5:17-cv-2185
                                                61
         Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 62 of 65


 1
     and the Class. Defendants also had a duty to disclose because they made many general
 2
     affirmative representations about the about the qualities of the Class Phones.
 3
           306.    On information and belief, Defendants still have not made full and
 4
     adequate disclosures, and continue to defraud consumers by concealing material
 5
     information regarding the performance of Class Phones.
 6
           307.    Plaintiff and the Class were unaware of these omitted material facts and
 7
     would not have acted as they did if they had known of the concealed and/or suppressed
 8
     facts, in that they would not have purchased the Class Phones. Plaintiff’s and
 9
     the Class’s actions were justified. Defendants were in exclusive control of the material
10
     facts and such facts were not known to the public, Plaintiff, or the Class.
11
           308.    Because of the concealment and/or suppression of the facts, Plaintiff and
12
     the Class sustained damage because they did not receive the value of the premium
13
     price paid for their Class Phones. Plaintiff and Class members would have paid less for
14
     Class Phones had they known about the Defect and the entire truth about them, or they
15
     would not have purchased Class Phones at all.
16
           309.    Accordingly, Defendants are liable to the Class for damages in an
17
     amount to be proven at trial.
18
           310.    Defendants’ acts were done maliciously, oppressively, deliberately, with
19
     intent to defraud, and in reckless disregard of Plaintiff’s and the Class’s rights and
20
     well-being to enrich Defendants. Defendants’ conduct warrants an assessment of
21
     punitive damages in an amount sufficient to deter such conduct in the future, which
22
     amount is to be determined according to proof.
23
                                         COUNT XX
24                                UNJUST ENRICHMENT
25                                  (Against Defendants)
                   (On Behalf of Plaintiff Beheler and the Indiana Subclass)
26
           311. Plaintiffs repeat and reallege the allegations above as if fully set forth
27
     herein.
28
     Complaint, Case No. 5:17-cv-2185
                                                 62
         Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 63 of 65


 1
           312.    This claim is brought by Plaintiff Beheler on behalf of the Indiana
 2
     Subclass. This claim is pled in the alternative to the other claims set forth herein.
 3
           313.    As the intended and expected result of its conscious wrongdoing,
 4
     Defendants have profited and benefited from Plaintiff’s and Class members’ purchase
 5
     of Class Phones containing the Defect.
 6
           314.    Defendants have voluntarily accepted and retained these profits and
 7
     benefits with full knowledge and awareness that, as a result of their misconduct
 8
     alleged herein, Plaintiff and the Class were not receiving Phones of the quality, nature,
 9
     fitness, or value that had been represented by Defendants, and that a reasonable
10
     consumer would expect.
11
           315.    Defendants have been unjustly enriched by their fraudulent, deceptive,
12
     and otherwise unlawful conduct in connection with the sale of Class Phones and by
13
     withholding benefits from Plaintiff and the Class at the expense of these parties.
14
           316.    Equity and good conscience militate against permitting Defendants to
15
     retain these profits and benefits, and Defendants should be required to make restitution
16
     of their ill-gotten gains resulting from the conduct alleged herein.
17
                                     PRAYER FOR RELIEF
18
           WHEREFORE, Plaintiffs, on behalf of themselves and similarly situated
19
     members of the Classes, respectfully requests that this Court:
20
           (a)    Determine that this action is a proper class action, certifying Plaintiffs as class
21
     representatives under Federal Rule of Civil Procedure 23 and Plaintiffs’ counsel as Class
22
     Counsel;
23
           (b)    Award all actual, general, special, incidental, statutory, punitive and
24
     consequential damages to which Plaintiffs and Class members are entitled;
25
           (c)    Award pre-judgment and post-judgment interest on such monetary relief;
26
           (d)    Grant appropriate injunctive and/or declaratory relief, including, without
27
     limitation, an order that requires Defendants to repair, recall, and/or replace the Class
28
     Complaint, Case No. 5:17-cv-2185
                                                   63
          Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 64 of 65


 1
     Phones and to extend the applicable warranties to a reasonable period of time, or, at a
 2
     minimum, to provide Plaintiffs and Class members with appropriate curative notice
 3
     regarding the existence and cause of the Defect;
 4
               (e)    Award Plaintiffs and Class members restitutionary or other equitable
 5
     relief;
 6
               (f)    Award Plaintiffs and Class members their reasonable costs and expenses
 7
     incurred in this action, including counsel fees and expert fees; and
 8
               (g)    Award such other and further relief as the Court may deem just and
 9
     proper.
10
                                      DEMAND FOR JURY TRIAL
11
               Plaintiff respectfully demands a jury trial for all claims so triable.
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     Complaint, Case No. 5:17-cv-2185
                                                      64
         Case 5:17-cv-02185-BLF Document 1 Filed 04/19/17 Page 65 of 65


 1   Dated: April 19, 2017        Respectfully submitted,
 2
 3         By:                          /s/ Cory S. Fein
 4                                          Cory S. Fein
                                            (California Bar No. 250758)
 5                                          Cory Fein Law Firm
 6                                          712 Main St., #800
                                            Houston, TX 77002
 7                                          Telephone: (281) 254-7717
 8                                          Facsimile: (530) 748-0601
                                            Email: cory@coryfeinlaw.com
 9
10
                                           Benjamin F. Johns (pro hac vice to be filed)
11                                         Andrew W. Ferich (pro hac vice to be filed)
12                                         Jessica L. Titler (pro hac vice to be filed)
                                           CHIMICLES & TIKELLIS LLP
13                                         One Haverford Centre
14                                         361 West Lancaster Avenue
                                           Haverford, PA 19041
15                                         Phone: (610) 642-8500
16                                         Fax: (610) 649-3633
                                           Email: bfj@chimicles.com
17                                         Email: awf@chimicles.com
18                                         Email: jlt@chimicles.com
19
20                                         Counsel for Plaintiffs and
                                            the Proposed Class
21
22
23
24
25
26
27
28
     Complaint, Case No. 5:17-cv-2185
                                               65
